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        Internal Operations and Training Manual




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Glossary of Acronyms and Abbreviations
BWV              Body-Worn Video
CAD              Computer-Aided Dispatch
CAO              City Attorney’s Office
CBA              Collective Bargaining Agreement
CCS              Closed Case Summary
CJIS             Criminal Justice Information Systems
CJTC             Washington State Criminal Justice Training Commission
COOP             Continuity of Operations Plan
CPC              Community Police Commission
DAR              Disciplinary Action Report
DCM              Director’s Certification Memo
DOJ              Department of Justice
EEO              Equal Employment Opportunity
FIT              Force Investigation Team
FRB              Force Review Board
HR               Human Resources
ICV              In-Car Video
KCADR            King County Office of Alternative Dispute Resolution
KCPAO            King County Prosecuting Attorney’s Office
MAR              Management Action Recommendation
NDA              Non-Disclosure Agreement
OIG              Office of Inspector General
OPA              Office of Police Accountability
PDU              Public Disclosure Unit
PII              Personal Identifiable Information
RA               Rapid Adjudication
ROI              Report of Investigation
SAN              Supervisor Action Notification
SPD              Seattle Police Department
SPMA             Seattle Police Management Association
SPOG             Seattle Police Officers’ Guild
TSO              Training Special Order




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Notice
Failure to comply, fully or in part, with any provision of the Office of Police Accountability (OPA) Manual
is not to be construed to have a presumptive adverse effect on an OPA investigation and is not to be used
as a means of challenging the findings or disposition of any complaint. The Office of Inspector General
may apply OPA Manual provisions in its assessments of OPA classifications, investigations, and systemic
audits.

The OPA Manual is subject to annual review and revision.




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1.0      INTRODUCTION

1.1      History
The City of Seattle introduced civilian police oversight in 1992 with an independent civilian Auditor to
review Seattle Police Department (SPD) internal investigations. The City extended this oversight in 2002
by creating a three-part civilian oversight system that included the civilian-led Office of Professional
Accountability (OPA), the OPA Auditor, and a three-member OPA Review Board.

In 2011, following several highly-publicized incidents involving SPD uses of force, the Civil Rights
Division of the U.S. Department of Justice, together with the U.S. Attorney’s Office for the Western District
of Washington, (collectively DOJ) launched a formal investigation into SPD’s alleged pattern or practice
of constitutional violations, including excessive force and discriminatory policing. The DOJ’s investigation
found that SPD had engaged in unnecessary or excessive force and expressed concerns about biased
policing.1 Further, the DOJ found that deficiencies in SPD training, policy, and oversight contributed to the
constitutional violations. Following this investigation, in July of 2012, the City of Seattle signed a
Settlement Agreement with the DOJ.2 The agreement outlined specific requirements that SPD agreed to
implement.

On June 1, 2017, the Seattle City Council passed an ordinance (“the Ordinance”) to overhaul Seattle’s
police accountability system.3 The Ordinance established a three-pronged oversight system comprised of
the existing OPA (renamed the Office of Police Accountability), a new Office of Inspector General for
Public Safety (OIG), and a permanent Community Police Commission (CPC). All three entities work to
generate public trust in SPD by upholding a culture of accountability and adherence to policy and law.

1.2      Authority & Functions
OPA has authority over allegations of misconduct involving SPD employees relating to SPD policy and
federal, state, and local law. While OPA does not conduct criminal investigations, it has jurisdiction over
the administrative investigations into potential violations of federal, state, and local law. The office
investigates complaints and recommends findings to the Chief of Police. OPA is led by a civilian Director
and supervisors, while its investigations are carried out by a mix of civilian investigators and SPD sergeants.

OPA’s core functions include:
  ▪ Establishing and managing processes to initiate, receive, classify, and investigate individual
       allegations of SPD employee misconduct
  ▪ Promoting public awareness of, full access to, and trust in OPA complaint processing
  ▪ Identifying SPD system improvement needs and recommending effective solutions
  ▪ Reducing employee misconduct

1.3      Independence
OPA is administratively within SPD but physically and operationally independent. This means, for
example, that while SPD manages OPA payroll and assists with human resources, SPD does not have
oversight of the office as a whole or the OPA Director, who reports to the Mayor rather than the Chief of
Police. As a result, OPA executes its responsibilities in a neutral, non-political environment free from

1 U.S. Dep’t of Justice Civil Rights Div. and U.S. Attorney’s Office for the W.D. Wash., Investigation of the Seattle Police Dept.
(2011).
2 See Settlement Agreement and Stipulated Order of Resolution, U.S. v. Seattle, No. 12-cv-1282 (W.D. Wash. July 27, 2012).
3 See Seattle, Wash., Ordinance 125315 (June 1, 2017).




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interference from any person, group, or organization.4 Maintaining OPA administratively within SPD also
ensures complete and immediate access to all SPD-controlled data, evidence, and personnel necessary for
thorough and timely complaint handling. It further facilitates the assignment of sworn personnel otherwise
employed by SPD to OPA. Although all leadership positions at OPA are held by civilian employees, some
staff are sworn personnel who traditionally report to the SPD chain of command. While working at OPA,
sworn employees take direction from OPA civilian leadership; not from SPD command staff or
supervisors.5

1.4      Vision, Mission, & Values
OPA’s vision is to safeguard a culture of accountability within SPD.

OPA’s mission is to ensure the actions of SPD employees comply with law and policy by conducting
thorough, objective, and timely investigations, and to drive best practices by recommending improvements
to policies and training, and engaging in collaborative initiatives that promote systemic advancements.

OPA’s values guide employee conduct and organizational culture in the pursuit of the OPA mission. These
values include:
    ▪ Independent
            o Make decisions based on consistent application of facts, policies, and laws
            o Maintain neutrality and exercise impartial judgement
            o Ensure all viewpoints are heard and respected
    ▪ Transparent
            o Maintain honest and open communication with all stakeholders
            o Communicate process, reasoning, and conclusions
            o Remain accountable to vision, mission, and values, both internally and externally
    ▪ Collaborative
            o Build meaningful and cooperative working relationships
            o Solicit and value the community’s perspective and expertise
            o Work with system partners to advance accountability and improve SPD policies and
                training
    ▪ Innovative
            o Set the national standard for police oversight agencies
            o Explore ways to improve processes and services
            o Use data and research to drive decision making

1.5      Director and Staff
The civilian OPA Director guides investigative processes, oversees alternative dispute resolution programs,
classifies complaints, certifies the completion of investigations, issues recommended findings to the Chief
of Police, and advises the Chief of Police regarding discipline. The Director also provides recommendations
on SPD policies and training and publishes periodic and annual reports regarding OPA’s work.

The OPA Director is responsible for the hiring, discharge, and transfer of OPA staff. All OPA staff, whether
sworn or civilian, report to the OPA Director. The OPA Director may hire or appoint one or more employees
to serve in the deputy or assistant director role.6 These employees will perform those duties assigned to



4 Id. § 3.29.105(C).
5 Sworn OPA personnel take direction from the SPD chain of command when acting as a police officer outside of their OPA duties.
6 Ordinance 125315, supra, § 3.29.100(B).




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them by the OPA Director. The OPA Director has the discretion and flexibility to change work assignments
and responsibilities to reflect and support the needs of the organization.

The OPA Director is selected based on criteria outlined in the Ordinance, is appointed by the Mayor and
confirmed by a majority vote of City Council, and may serve up to three, four-year terms.7 The OPA
Director may only be removed for cause by the Mayor and, if so removed, is entitled to a full hearing before
the City Council. The removal of the OPA Director must be approved by a majority vote of the full City
Council.8




7   Id. § 3.29.115(A) through 3.29.115(C).
8   Id. § 3.29.115(F).


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2.0         PERSONNEL POLICIES
OPA personnel are responsible for knowing and abiding by all policies in the SPD Policy Manual, in
addition to those outlined below.

2.1         Confidentiality
OPA personnel must maintain the highest degree of confidentiality concerning matters related to OPA
complaints and investigations. All OPA personnel are required to sign a confidentiality agreement. OPA
employees, other than the OPA Director or their designee, are prohibited from disclosing or confirming to
anyone outside of OPA whether a complaint has been made or an investigation is being conducted,
including the identity of complainants and named and witness employees, unless required by OPA protocols
or public disclosure laws. All media requests must be referred to the OPA Director or their designee. Only
the Director or their designee may publicly comment about investigations.9

2.2         Conflicts of Interest
OPA investigators are sometimes tasked with investigating individuals whom they may personally know
or may have previously worked with. All OPA personnel must exercise discretion in favor of recusing
themselves from any process that might reasonably be expected to create a conflict or the appearance of a
conflict of interest.10 Any actual or apparent conflict of interest with the parties or subject matter involved
should immediately be brought to the attention of an OPA supervisor. All OPA personnel are required to
inform their supervisor of potential conflicts of interest when they begin their employment at OPA. This
includes identifying SPD employees that are family members, close associates, and entities to which the
investigators have a monetary and/or fiduciary relationship.

If OPA receives a formal complaint involving an OPA employee, the staff member processing receipt of
the complaint will forward it to the OPA Director, who will assess whether there is a conflict of interest
that prevents OPA from conducting the investigation. This assessment should be made as soon as
practicable (within five days for sworn and 14 days for civilian employees) after OPA’s receipt of the
complaint, upon which OPA will provide written notification to OIG of OPA’s conflict determination and
the reasoning for the determination. If a conflict of interest is identified, OPA refers the complaint to OIG
for investigation. Where a conflict is not identified and OPA chooses to investigate the case, OPA informs
OIG of this decision in the written notification. Among the factors that should be considered in making this
assessment are:
     ▪ Whether the conduct alleged occurred during the employee’s assignment at OPA
     ▪ Whether there are other investigators without close ties to the employee who can conduct the
        investigation
     ▪ Whether an OPA supervisor can assess and approve the investigation impartially
     ▪ Whether the OPA Director can issue findings that will not be impacted by the employee’s status

If the subject of the complaint is the OPA Director, the complaint will be forwarded to the City Human
Resources (HR) Director for investigation. Where the subject of the complaint in an OPA supervisor, the
OPA Director will either refer the case to OIG or, if OIG declines to investigate, forward the case to the
City HR Director for investigation.




9   Ordinance 125315, supra, § 3.29.105(C).
10  SPD Manual 5.001-POL-18.


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If OIG investigates any case involving OPA employees, the employees are entitled to due process and
contractual protections consistent with applicable collective bargaining agreements (CBAs).11 The Chief of
Police is the final decider for findings and discipline for sworn OPA employees. The OPA Director is the
final decider for findings and discipline for civilian OPA employees. None of the above precludes the OPA
Director from taking remedial or disciplinary action for performance matters or other misconduct involving
OPA employees that is not the subject of a complaint.

Where the Chief of Police is named in a complaint, the OPA Director consults with the Mayor’s Office to
identify whether OPA should conduct the investigation or whether it is necessary to assign the investigation
to an appropriate City authority outside of OPA or an independent investigator. However, the OPA Director
makes the final decision as to where the case will be assigned for investigation. If a former Chief of Police
is named in a complaint, OPA may assert jurisdiction over that individual.

If a matter involving the Chief of Police or OPA staff member is being investigated outside OPA, a member
of OPA leadership will consult with the outside investigator to ensure due process in accordance with
OPA’s policies and procedures.

2.3     Non-Retaliation
Retaliation in any form for reporting misconduct will not be tolerated.12 If OPA personnel are made aware
of facts indicating possible retaliation against a complainant, they must immediately notify an OPA
supervisor to evaluate whether a new case will be opened. Similarly, OPA personnel must not take any
action or fail to take any necessary action in retaliation for a person having provided information pursuant
to an OPA complaint or otherwise participated in the complaint process. In all cases of reported possible
retaliation, the OPA Director must be informed and has the sole authority to determine what action OPA
will take in response.




11 For non-represented civilian OPA employees, OPA and OIG will establish protocols to ensure due process and notice
requirements are met.
12 SPD Manual 5.002-POL-4.




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3.0      OPERATIONS POLICIES

3.1      Contact & Hours of Operation
OPA is open to the public from 8am to 5pm, Monday through Friday, except on City-observed holidays or
where other unique circumstances require the office to close. Notices of closures or other advisories are
published on OPA’s website. The main OPA telephone number is (206) 684-8797. Callers may leave
voicemails during non-business hours. OPA’s office and mailing address is:

Office of Police Accountability
720 3rd Ave, Suite 1800
Seattle, WA 98124

3.2      Accessibility and Interpretation Services
Federal, state, and municipal regulations require that OPA communicate effectively with people who have
communication disabilities.13 The purpose of these regulations is to provide equal access to OPA’s services
by ensuring that communications with people with communication disabilities are as effective as
communications with others. To that end, OPA provides auxiliary aids and services, including interpreter
services, when necessary to effective communication. These services will be provided at no cost to the
individual requesting the service. To determine when and what auxiliary aids or services are necessary,
OPA employees must give primary consideration to the requests of the person with the disability. Primary
consideration means that, with certain limitations, the person’s request for an accommodation will be
honored unless another equally effective means of communication is available.

In addition, if an individual is of limited English proficiency and in need of interpretation services, OPA
will provide those services at no cost to the individual.

If an OPA employee believes that the requested aid or service is unduly burdensome and/or another form
of communication would be equally effective, the employee should raise the issue with the OPA Director
as soon as possible for a final determination.

OPA investigators will determine, as soon as feasible and no later than during the first contact with the
complainant or witness, whether an interpreter or other auxiliary aid or service is required. To the extent
possible, OPA investigators should make this determination by asking each complainant or witness—
verbally, in writing, through an interpreter, or otherwise—if they require any accommodations. This must
be documented in the OPA case file.

While the Pacific Building, OPA restrooms, and OPA office are accessible to those with physical
disabilities, OPA employees should prepare interview spaces to be user friendly (i.e., open doors, clear
pathways), as not all disabilities are visible.

3.3      Emergency Preparedness
OPA will maintain a Continuity of Operations Plan (COOP) that provides guidance to ensure the continuity
of essential office and oversight functions and minimizes the impact of an emergency on OPA personnel
and operations. The COOP covers a range of emergencies, including pandemics, acts of nature, accidents,
technological emergencies, and military or terrorist attack-related incidents.

13See generally Title II of the Americans with Disabilities Act of 1990 (ADA), 42 U.S.C. §§ 12131-12165 (2018), Washington
State Law Against Discrimination, RCW 49.60.010 et seq., and Seattle Municipal Code § 1406.010 et seq.


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The essential services that OPA must maintain during an emergency, or within 72 hours of the disruption,
include:
    1. Receiving and processing complaints of SPD employee misconduct
    2. Responding to and monitoring all officer-involved shootings and Type III use of force
         investigations
    3. Conducting thorough and timely investigations of complaints

The COOP also includes:
   ▪ A designated line of succession in the occurrence the OPA Director position is suddenly vacated
   ▪ A designated alternate worksite when ordered by an SPD Incident Commander
   ▪ An inclement weather plan
   ▪ A list of OPA civilian personnel and the programs each manages
   ▪ A list rating the essential communication-related software, programs, and equipment

3.5         Information Management & Records Policies

            Information security
OPA restricts case files and network folders from unauthorized access. Paper files and archives are stored
in a secured file room within the OPA office. Files may not be shown to any person outside OPA except
upon approval from the OPA Director or their designee. OPA records must not be left unattended in areas
accessible by non-OPA personnel.

OPA maintains electronic case files for all cases after 2014. Access to OPA records in the case management
system is granted to OPA personnel and approved City personnel with Criminal Justice Information
Systems (CJIS) security clearance. All user activity is logged in the case management system and includes
the user’s name, date and time of access, and description of the user’s activity in the case file.

An OPA staff member designated by the Director is responsible for submitting requests to the SPD system
administrator to grant additional access or change database user permissions. This staff member has
database administration authorization to complete OPA-specific tasks, such as changing mailbox access,
running advanced reports, and conducting statistical analysis that cannot be completed using the standard
user interface.

            Release of information
Given OPA’s obligation to exercise maximum transparency allowed by law and contract, the contents of
OPA complaint and investigative case files will be released to the fullest extent permitted in response to
requests from legal authorities or the SPD Public Disclosure Unit (PDU). All public records are presumed
disclosable unless they fall within the specific exemptions of the Public Records Act or other statutes that
exempt or prohibit disclosure of specific information or records.14

No individual other than the employee, OPA staff members, OIG, the employee’s assistant chief, SPD
Legal unit, or the Chief of Police may review an employee’s OPA file without permission from the OPA
Director, except pursuant to a court order or by other legal authority.15 OPA does not release any original
paper files; only electronic copies will be provided.




14   RCW 42.56.240.
15   Agreement by and between the City of Seattle and Seattle Police Officers’ Guild (“SPOG Agreement”) § 3.6(H), (2018).


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An SPD employee or external law enforcement agency may request access to the investigatory portion of
an OPA case file in which the employee was named. The request must be in writing. External agencies
conducting background reviews on lateral applicants will be required to sign a Confidentiality and Non-
Disclosure Agreement (NDA), as well as a release of information waiver signed by the employee. For
employees requesting their own files, an NDA and Retaliation Admonition form must be signed. OPA staff
will provide electronic copies of the files to the requesting party with the understanding that the files must
be destroyed after use.

A copy of the investigatory portion of an OPA file may be released to an employee for whom a sustained
finding has been recommended, their attorney, and/or their union representative in preparation for a
Loudermill hearing.16

Where there is a public disclosure or discovery request for an OPA file, a copy of the entire file should be
turned over to SPD PDU, the SPD legal advisor, or the Seattle City Attorney’s Office (CAO) in response
to the request. OPA staff members will not make decisions as to what material in a file should be released
or withheld. SPD public disclosure staff is responsible for determining what information should be redacted,
if any, and making such redactions.

OPA will furnish CPC with closed investigative files upon request and approval from the OPA Director.
OPA will make necessary redactions in the files to remove CJIS data and information on involved juveniles
before sharing the files. The preferred method of data sharing is through a secure, temporary OneDrive
folder. Pursuant to the Ordinance, CPC is responsible for utilizing these documents and the information
therein in an appropriate manner and bears responsibility for any privacy breaches that may occur.17

Access to limited OPA case data may be granted to additional parties with authorization from the OPA
Director and SPD. External consultants, SPD technical staff, or authorized City personnel will sign NDAs
prior to accessing OPA data or systems.

         Personal identifiable information
             i. Employee personal information
State law and CBAs prohibit OPA from publishing or sharing personal identifiable information (PII) on
SPD employees named in complaints.18 OPA may be required to provide employee PII in response to a
public disclosure request.

              ii. Community member personal information
OPA staff enter community member information in the case management system and verify accuracy of
existing information for community members, such as name, race, gender, email address, addresses, and
phone numbers. Complainants are given the option of whether they would like their information that is
provided to OPA disclosed or not disclosed, if applicable, in a public disclosure request. Upon obtaining
this information, the OPA investigator must update the community member’s role in the electronic case file
to reflect their disclosure preference.19



16 This informal meeting with the Chief of Police is named after a 1985 decision of the U.S. Supreme Court in Cleveland Board of
Education v. Loudermill, 470 U.S. 532 (1985).
17 Ordinance 125315, supra, § 3.29.380.
18 PII is data that can be used to identify an individual; it includes data that may indirectly identify an employee when combined

with other relevant data.
19 If a complainant requests non-disclosure in an OPA investigation, their PII will be redacted in any public disclosure request

pursuant to RCW 42.56.240(2). Police labor contracts require OPA to disclose the name of the complainant(s) to the named SPD
employees and their union unless the complainant was filed anonymously. See SPOG Agreement, supra, § Appendix H.


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OPA may use community member race and gender data for aggregate reporting. OPA may also use
complainant contact information to conduct surveys or outreach aimed at improving internal processes.

           Record retention
                     Case files
As of January 1, 2015, all case files, whether completed or open, are retained indefinitely in the electronic
case management system.20
                     Officer Card
An Officer Card is an electronic copy of an employee’s OPA record accessed via a protected web
application. It lists the OPA case number for each completed investigation, including allegations and
findings. Complaints classified as Contact Logs and Supervisor Actions do not appear on an employee’s
Officer Card. OPA maintains an electronic index of all employees’ Officer Cards. Officer Card files may
be reviewed by SPD command staff during promotional reviews, by recruiters from outside police agencies,
and by OPA staff during case reviews.
                     Email
OPA staff must follow the City and SPD’s guidance on email retention. As a general framework, the City’s
Records Manager recommends the following:
   ▪ (7 yr) Programs_Projects: Use for day-to-day administration of programs or special projects that
       do not involve investigations.
   ▪ (10 yr) Investigations: Use for investigations-related emails and records. The general retention for
       these types of records is six years after completion, but since investigations may last longer than
       one year, the seven-year does not adequately ensure the retention will be met.
   ▪ (20 yr) Executive Management: Only used by OPA Director for high-level policy and program
       administration. Records created at that level are often historically valuable, meaning that once the
       Director has left the City, they need to be transferred for preservation in the Seattle Municipal
       Archives.
                     Work phones
OPA personnel must retain text messages and cell phone data concerning official OPA business and/or
investigations and be able to produce those records pursuant to a public disclosure or other legal request.
SPD Legal unit or CAO may require OPA personnel to sign declarations that a work phone has been
searched in response to an information request. Departing OPA staff must either turn over their SPD-issued
cell phone or provide relevant cell phone data for archiving.

3.6        Training and Professional Development
OPA supports the growth and continuous professional development of all sworn and civilian staff. OPA
leadership will regularly assess each individual staff member’s training needs, role within OPA, and
interests to develop a training plan that will serve the employee and OPA. Supervisors will work with each
direct report to implement the training plan and incorporate it into performance reviews. All staff are
encouraged to have a growth mindset and seek out training and professional development opportunities
through the City and external providers. Historically, OPA staff have participated in workshops, seminars,
and conferences centered around leadership development, internal affairs best practices, interview
techniques, forensic video analysis, and more.




20   SPD Directive 13-00051.


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OPA sergeants are required to view all SPD Training Special Orders (TSOs) and complete mandated
training for sworn personnel through the SPD Training Unit and the Washington State Criminal Justice
Training Commission (CJTC). OPA’s civilian investigators are also expected to view all SPD TSOs and
may be assigned to attend trainings held by the SPD Training Unit and the CJTC. Attendance at such
training will be determined by OPA supervisors.

OPA is committed to educating civilian staff on the realities of policing and providing relevant and up-to-
date training and education. Some civilian OPA personnel may observe and/or take part in SPD sworn
trainings (e.g., crisis intervention, defensive tactics, firearms, crowd management, patrol tactics, etc.) to
enhance their understanding of SPD as well as the application of SPD policy. Civilian personnel are also
encouraged to participate in ride-alongs with SPD officers.

            Investigator training
OPA supervisors will oversee OPA employees’ training to ensure it aligns with individual duties,
organizational priorities, and the OPA Manual.21 The supervisor of each new OPA investigator will assign
an experienced investigator to serve as a mentor to the new staff member. The mentor will assist the new
investigator in developing relevant skills and understanding OPA procedures. The new investigator will
shadow the mentor and other OPA investigators as they conduct investigations and interviews. OPA
supervisors will determine how long the new investigator should shadow the mentor. Civilian investigators
without prior experience using SPD systems will require additional training from OPA sworn and civilian
staff. Further, all new OPA investigators complete training on investigative interview techniques.

When possible, new investigators will perform intake functions for the first couple of months of their
assignment. Focusing initially on intakes will help the new investigator gain competencies necessary for
administrative investigations. This will also serve to expose the investigator to a variety of allegations and
classification types and to increase the investigator’s familiarity with OPA’s systems and processes.

Training for new OPA investigators should address the following topics:
    1. Relevant laws and policy
    2. Police CBAs
    3. Intake, complaint classification, findings, and discipline
    4. Case management and tracking
    5. Best practices in administrative investigations
    6. Investigation planning
    7. Communication with employees and complainants
    8. SPD records management systems, computer-aided dispatch (CAD), and mobile data terminal
        (MDT)
    9. Body-worn video (BWV), in-car video (ICV), and holding cell video
    10. Collection and preservation of evidence
    11. Writing case summaries
    12. Overview of criminal investigation procedures
    13. Use of Force – policy, reporting and review
    14. SPD Equal Employment Opportunity (EEO) procedures and referrals
    15. Interface with other law enforcement agencies
    16. Civilian oversight of law enforcement in Seattle and elsewhere
    17. OPA Mediation program
    18. State law materials available through the CJTC, where applicable



21   Ordinance 125315, supra, § 3.29.120(J).


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The following topics should be covered in training for all investigators at least annually:
   1. Interviewing skills
   2. Investigation planning
   3. Evidence analysis
   4. Case law updates on use of force, search and seizure, stops and arrests, biased policing, and other
        topics frequently raised in OPA complaints
   5. OPA Mediation and Rapid Adjudication programs
   6. Selected topics such as crisis intervention, race and social justice, and de-escalation strategies

3.6         Annual Report
The Ordinance requires OPA to publish an annual report that describes OPA’s work in fulfilling its purpose,
duties, and responsibilities, as well as the OPA Director’s recommendations for changes in policies and
collective bargaining.22 The annual report must include, but is not limited to, the following statistics and
information:23
    1. The number and percent of all cases by classification and nature of allegation received by OPA
    2. The number and percent of all cases and allegations that were sustained and the specific disciplinary
         action taken in sustained cases
    3. The number and percent of cases that were not certified as thorough, timely, and objective by OIG,
         including actions taken by the OPA Director to reduce the number of not certified cases
    4. The number and percent of cases that were appealed, and the number and percent of these cases in
         which findings and/or discipline were changed, and the nature of those changes, as a result of
         appeals or for other reasons
    5. The number and percent of all cases and allegations that were not sustained, and the categorization
         of all not sustained findings
    6. The number and percent of all complaints handled directly by frontline supervisors, referred for
         Supervisor Action, management action, training, or alternative dispute resolution
    7. The precinct, sector, and shift distribution of incidents resulting in complaints
    8. The racial, ethnic, gender, and geographic distributions of complainants, to the extent this
         information is provided voluntarily by complainants
    9. The racial, ethnic, gender, assignment, shift, and service seniority distributions of named employees
         who are subjects of complaints
    10. The number of named employees who received two or more sustained complaints within one year
    11. Patterns and trends in all OPA complaints, including year-to-year comparisons of demographic
         data that can help identify problems, deter misconduct, and inform SPD improvements
    12. The accessibility, transparency, timeliness, thoroughness, responsiveness, and effectiveness of
         OPA and SPD processes

3.7         Mobilization for Unusual Circumstances
OPA personnel will not normally be directly involved in special assignments for disturbances, riots, or
other unusual occurrences. However, it is possible that OPA sworn personnel could be requested or assigned
to other non-OPA tasks in a significant or unforeseen occurrence. In this scenario, the OPA Director will
grant the request where it does not undermine the operations of OPA or implicate public trust and
confidence in the accountability system. If sworn personnel assigned to OPA do engage in SPD tasks
outside of OPA, this will be considered in assessing conflicts of interest. Sworn OPA personnel must be
prepared to take police action when necessary and are required to have uniforms and equipment available
when working in the OPA office. Lockers are available for storage of uniforms, weapons, and other police

22   Ordinance 125315, supra, § 3.29.145(F).
23   Id.


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gear. In the event of such a major occurrence, OPA sergeants will respond as directed by the SPD chain of
command subject to the limitations set forth above.




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4.0      SPECIAL CONSIDERATIONS

4.1      Employee Unions
Most SPD employees are represented by a union. OPA processes and requirements may vary based on
which union the named employee is represented by. The majority of OPA complaints are against sworn
police officers through the rank of sergeant who are represented by the Seattle Police Officers’ Guild
(SPOG). Though OPA investigates complaints involving employees represented by other unions, OPA may
choose to default to SPOG’s CBA requirements for complaint processing, as they are the most stringent.

OPA supervisors are responsible for ensuring that the office complies with the requirements of police
CBAs. Supervisors will provide information and training to staff on the terms of the SPOG CBA,
investigation timelines, and requirements for OPA notifications to named employees and the union. For
cases involving SPD employees represented by a union other than SPOG, staff should refer to the applicable
CBA for notification requirements, and OPA supervisors should discuss any special considerations or
requirements to this in the investigation plan.

The other SPD employee unions include:
   ▪ Seattle Police Management Association (SPMA): Lieutenants and captains
   ▪ Professional and Technical Employees, Local 17: Many civilian administrative and technical
       employees
   ▪ Teamsters 117 Evidence Warehouse Unit: Community service officers, evidence warehousers

4.2      Criminal and Other Sensitive Allegations
SPD policy requires that all employees inform their supervisor if they are the subject, or believe they may
be the subject, of a criminal investigation, criminal traffic citation, arrest, conviction, or court order.24 SPD
further requires employees to report when their Washington driver’s license is expired, suspended, revoked,
or restricted. The SPD supervisors must then report this information to OPA.

Although OPA conducts administrative investigations into criminal complaints, OPA does not have the
authority to conduct criminal investigations.25 Allegations of criminal conduct should immediately be
brought to the attention of an OPA supervisor, who will ensure the OPA Director is notified in a timely
manner. OPA is not required—but has the discretion—to send a notice of complaint to the named employee
where potential criminal conduct is involved.26 That decision will be made by the OPA Director and/or
investigations supervisors. Information on processing and tracking criminal allegations can be found in
OPA Manual section 8.2.

OPA may also learn of potential criminal conduct by an SPD employee while investigating a separate
complaint. If this is the case, the OPA investigator must notify a supervisor and the OPA Director as soon
as practicable. The OPA Director or their designee will assess the case and determine if a referral to a law
enforcement entity is required.

While the contents of an open, ongoing criminal investigation are generally exempt from production under
a public records request, OPA administrative investigations are not exempt under this rule unless the release
of such information would adversely affect an ongoing criminal investigation. SPD Legal unit makes any


24 SPD Manual 5.002-POL-8.
25 Ordinance 125315, supra, § 3.29.100(G).
26 See SPOG Agreement, supra, §§ 3.6(A); 3.7.




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necessary determination whether the contents of an OPA file—as it relates to an active criminal
investigation—may be subject to redaction.

4.3         Contact with Complainants
OPA provides written notice to complainants upon complaint receipt, classification, case closing, and
appeal filing or decision, unless not feasible or where the circumstances of the case warrant not doing so.
Each notice will inform the complainant of next steps in the process. Throughout the investigation, the
complainant may track the complaint on OPA’s website to view additional milestones within the
investigation.

When feasible, OPA investigators will make first contact with the complainant within five business days
of being assigned a complaint. The investigator documents the date and type of each contact attempted or
made with the complainant in both the report of investigation (ROI) and electronic case file by making an
entry in the case management system to properly reflect the type of contact attempted or made.

Care and compassion must be exercised with a complainant who may have a mental illness. The presence
of a mental illness does not necessarily make an individual less able to perceive, recall, or report an incident.
A complaint may be valid even if a person has difficulty communicating the essential facts. OPA personnel
should assume that a person with a developmental disability, a neurological disorder, or a physical
impairment that makes it difficult to communicate is as credible and reliable as any other person. OPA
personnel must objectively consider all facts in deciding the weight given to an individual’s testimony (see
OPA Manual section 6.6 for information on evaluating testimonial evidence).

4.4         Complainants Represented by an Attorney
OPA staff should not contact a complainant directly if they are represented by an attorney in connection
with the incident that resulted in the complaint. This is done to ensure the complainant’s rights are fully
protected. In these instances, OPA will only interview the complainant without their attorney present if the
attorney and complainant have clearly authorized such an arrangement.

Where an attorney is actively representing the complainant on another criminal or civil matter involving
SPD or the City of Seattle, the OPA investigator should seek approval from a supervisor prior to engaging
in any substantive contact with the complainant.

4.5         Contact with Criminal Investigators
At the direction of the OPA Director or their designee, OPA staff may communicate with criminal
investigators concerning an ongoing criminal investigation. However, in doing so, OPA staff will not
disclose any Garrity-protected information.27 OPA may coordinate with criminal investigators to ensure
that both the administrative and criminal investigations are thorough, complete, and timely, and that OPA
receives the complete criminal investigation file. OPA will not conduct criminal investigations or seek to
direct criminal investigations.

4.6         Contact with Prosecuting Authorities
At the direction of the OPA Director or their designee, and if pertinent to an OPA investigation, OPA staff
may contact a prosecuting agency to monitor the status of criminal charges pending against an SPD
employee or clarify the status of criminal charges against a complainant.


27   See Garrity v. New Jersey, 385 U.S. 493 (1967).


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A designated OPA staff member maintains regular communication with CAO and the King County
Prosecuting Attorney’s Office (KCPAO) to provide notice of potentially exculpatory evidence that could
be used to impeach a government witness, in accordance with the Brady rule.28 OPA sends an initial notice
to prosecutors after receiving allegations of potential bias, dishonesty, or criminal law violations involving
SPD sworn employees. Upon completion of the investigation, OPA provides final notice to prosecutors of
the case findings, generally within two weeks of case closing. OPA must also provide this information upon
request to the U.S. Attorney’s Office.29

For criminal complaints that are referred to a law enforcement agency, the OPA Director’s designee will
maintain communication with the investigating agency and/or prosecutor regarding the criminal case status
to ensure that OPA is able to meet the 180-day timeline (see OPA Manual section 8.2(B)).

4.7      Subpoenas
OPA has the authority to issue subpoenas at any stage in an investigation to compel individuals to produce
records, evidence, or testimony material to the investigation.30 OPA’s subpoena power is subject to, and
limited by, the contractual agreements with SPD unions and/or City ordinance.31 Any subpoena issued by
OPA must be signed by the OPA Director or their designee.




28 Brady v. Maryland, 373 U.S. 83 (1963). See also United States v. Giglio, 405 U.S. 150 (1972), United Stated v. Bagley,
473 U.S. 667 (1985), and Kyles v. Whitley, 514 U.S. 419 (1995).
29 See U.S. v. Henthorn, 931 F.2d 29, 31 (9th Cir. 1991) (requiring the prosecution to review personnel files of officers upon

defendant’s request for production) cert. denied 503 U.S. 972 (1992). OPA provides officer discipline files to the U.S. Attorney’s
Office on request to facilitate review for potentially impeaching information.
30 Ordinance 125315, supra, § 3.29.125(E).
31 SMC 3.29.126. For due process protections for individuals and complainants subject to subpoena, see SMC 3.29.245.




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5.0         COMPLAINT RECEIPT AND INTAKE

5.1         Complaint Filing
Complaints may be filed by anyone, including any person who had an encounter with SPD or was the
subject of police action, a third party (e.g., civilian witness, an individual’s parent, spouse, etc.), a person’s
legal representative, an SPD employee, or an OPA supervisor. OPA also processes complaints forwarded
from other City departments or community organizations, including the Mayor’s Office, City Council,
Customer Service Bureau, Office for Civil Rights, OIG, and CPC.

            External complaints
External complaints are those received directly from the public or via an intermediary, such as another City
agency. There are five ways members of the public can directly file a complaint with OPA: in person, by
phone, in a mailed letter, via email, or through OPA’s website complaint form. Complainants can choose
to remain anonymous. In some cases, an anonymous complaint may limit OPA’s ability to obtain relevant
information that would aid the investigation and retrieval of evidence. However, this does not prevent OPA
from conducting an investigation.

            Internal complaints
Internal complaints are those initiated by an SPD employee or forwarded by an SPD employee on behalf
of a community member. All SPD employees are required to report any alleged serious policy violations to
a supervisor or to OPA and to assist any person who wishes to file a complaint.32 OPA also receives internal
complaints forwarded from the Force Review Board (FRB), Force Investigation Team (FIT), Collision
Review Board, and SPD supervisors. The OPA Director or their designee may initiate a complaint based
on a claim made against the City, litigation filing, media coverage of an incident, or any other source of
information.

5.2         Complaint Intake

            Case creation
OPA administrative staff review and record every contact made with OPA. A contact is an individual
communication with OPA through one of OPA’s channels of complaint filing. New contacts are reviewed
on business days and undergo a preliminary screening process by OPA civilian supervisors. Contacts that
are determined to involve complaints against SPD employees are entered into OPA’s case management
system.

When OPA receives multiple complaints about the same incident, OPA processes those complaints as a
single case. If a duplicate case is created (same fact pattern, employees, and allegations) and both cases are
assigned an incident number, the duplicate case will be closed as a Contact Log, indicating no further
investigation should occur under that incident number. All associated records for the complaint should be
linked to the primary case.

If a contact does not involve allegations of potential misconduct against an SPD employee, administrative
staff enter the information into a designated bulk Contact Log file. OPA allocates specific case numbers in
each calendar year to log contacts that fall outside of OPA’s jurisdiction or are otherwise not identified as



32   See SPD Manual 5.002. Serious policy violations are defined in 5.002-POL-5(a).


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complaints by OPA leadership (e.g., 2021OPA-0001). OPA supervisors review Contact Logs to ensure that
each was handled appropriately. Examples of contacts that might be designated as Contact Logs include:
    1. Complaints against non-SPD employees, without an articulated complaint or potential SPD policy
       violation, or another eligible category as outlined in OPA Manual section 5.4(B)(i).
    2. Crimes reported to OPA that fall within the jurisdiction of SPD or another law enforcement agency
    3. Public records requests
    4. Complaints against employees of City departments that were formerly part of SPD

For complaints that are best addressed by a different City department, OPA will forward the complaint to
that office. Otherwise, OPA will provide the complainant with the information they need to proceed. If
OPA determines that the employees named in a complaint do not work for SPD, OPA will refer the case to
the appropriate agency. If the individual contacting OPA requested a police report or other records, OPA
will provide them with information for filing a public disclosure request, as OPA is not at liberty to provide
such records directly.

         Complaint receipt notices
                  Notice of complaint to named employees
CBAs for sworn employees through the rank of captain require that OPA provide a notice of complaint to
an alleged involved employee. For SPOG members, OPA is required to send this notification no later than
five business days after receiving a complaint.33 For SPMA members, this notice must be sent within 10
calendar days of receipt.34 OPA sends notices for unrepresented employees and employees represented by
other bargaining units consistent with the SPOG requirements.

OPA investigators or supervisors ensure that the notice of complaint is emailed to the alleged involved
employee(s)—and copied to their unit captain/civilian equivalent and union—within the designated
timeline. The notice of complaint will identify the named employee(s), complainant (if known or identified
and not anonymous) and a general summary of the complaint.35 A record of the notification is saved to the
case file as evidence of the date and time the notice was sent.

If OPA cannot determine the identity of an involved employee within five days, the investigator will send
a notice of complaint to SPOG and SPMA—or to the union that most likely represents the unknown
employee—with the employee identified as “unknown employee.” OPA does not need to notify anyone if
the matter is believed to involve an unrepresented civilian employee (see OPA Manual section 4.1 or the
appropriate CBA for represented civilian employees). If the unknown employee is later identified, OPA
will send a notice of complaint to the employee within five days of the date OPA learned of the employee’s
identity.
                  Complaint receipt notice to complainant
OPA’s administrative staff send a complaint receipt notice to the complainant after the case is created in
nearly all cases where OPA has the complainant’s contact information. The notice includes the OPA case
number and instructions for tracking the status of the case. Notices to complainants are sent by email or by
postal mail when no email address is provided. If a complaint was filed anonymously but with a valid email
address, OPA administrative staff should send a complaint receipt notice to the email address listed on the
complaint. A record of the notification is saved to the case file as evidence of the date and time the notice
was sent.


33 SPOG Agreement, supra, § 3.6(A).
34 Agreement by and between the City of Seattle and Seattle Police Management Association (“SPMA Agreement”) § 16.4(B),
(2017).
35 See SPOG Agreement, supra, § Appendix H.




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Where OPA receives numerous complaints about an incident, including from third-party complainants, and
outreach to complainants individually is not feasible, OPA is permitted to issue the notice of complaint in
a manner purposed to reach all complainants at once (e.g., social media, website), rather than sending each
complainant a separate complaint receipt notice.

5.3       Intake Investigation
After OPA administrative staff enter a complaint into the case management system, a supervisor reviews it
and assigns the case to an investigator for preliminary investigation. Nearly all complaints that contain a
plausible allegation of misconduct involving one or more SPD employees undergo a preliminary
investigation, referred to as the intake investigation.36 To avoid bias, investigators are required to notify
their supervisors of any potential conflict of interest that may compromise the integrity of the investigation
(see OPA Manual section 2.2). Investigators should endeavor to complete the intake investigation in around
20 days in order for the complaint to be classified by day 30.

The intake investigation should answer relevant factual questions and ensure the collection and preservation
of time-sensitive evidence. It should include, but is not limited to, information such as:
     ▪ Who was involved or present?
     ▪ What happened?
     ▪ Where did it happen?
     ▪ When did it happen?
     ▪ How did it come to light?
     ▪ Is there evidence, including perishable evidence, relevant to the complaint (cell phone video, etc.)

OPA investigators should follow up on any written statements submitted by complainants by making direct
contact with the complainant and conducting a recorded interview, when possible. Where this does not
occur and/or when declined by the complainant, the investigator should document the reason in the case
file. Any additional information obtained during this interview should be evaluated in concert with the
original complaint when assessing the allegations and involved employees.

          Contacting the complainant
OPA personnel must comply with OPA procedures if they determine a complainant requires a translator or
other auxiliary aid or service (see OPA Manual section 3.2). To the extent possible, OPA investigators
should make this determination by asking each complainant or witness—verbally, in writing, through an
interpreter, or otherwise—if they require any accommodations.

OPA investigators should attempt to contact the complainant within five days of receiving the intake
assignment. As a rule, investigators should make three attempts to contact a complainant before proceeding
with the intake investigation without an interview. This contact may be by phone, email, or in person. OPA
may attempt to reach a complainant by postal mail when no other contact method is provided or available
in SPD records of the incident.

If the only known contact information for a complainant is a phone number, OPA investigators will attempt
to reach them at that number. When possible, investigators will leave a voicemail and will vary call times
to increase the possibility that the complainant can be reached and interviewed. During the call,
investigators should seek to obtain or verify the email (preferred) or mailing address for the complainant.


36In some instances, OPA may not assign a complaint for intake, such as if the complainant is clearly suffering from a mental
health crisis and/or based on other preliminary steps taken by OPA investigators at the instruction of OPA's civilian supervisors to
obtain clarifying information regarding the potential allegations.


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Investigators must notify OPA administrative staff if a new contact address is identified for a complainant
to ensure future complainant notices (see OPA Manual section 4.3) can be sent.

Investigators should document the date and type of each contact attempted or made with complainants in
both the ROI and in the case management system. In the ROI, investigators should provide sufficient detail
for the quality and nature of the contact to be assessed. If OPA does not have valid contact information or
is otherwise unable to contact a complainant, it should be documented in the ROI.

Sometimes complainants do not wish to be interviewed, in which case investigators will try to gather the
necessary information from the complainant via email, including a written statement, if possible. In some
instances, a complainant may decline to participate in the investigation after submitting their complaint.
OPA will continue to investigate the complaint without further participation by the complainant, provided
there is sufficient information to proceed.
                     Pre-interview steps
Complainants must be offered the option of an in-person interview.37 The investigator should ask the
complainant if they prefer to be interviewed at the OPA office, by phone, or online. The investigator can
also interview the complainant at a location that is more accessible and convenient for the complainant, but
this should be screened with a supervisor. Prior to conducting a phone interview, the investigator should
ask the complainant whether any witness to the incident is currently with them. If so, the complainant
should be asked to conduct the interview in private as a means of minimizing the chance of influencing the
other person’s interview. The intake investigator will attempt to obtain the complainant’s permission to
audio record the interview for purposes of accuracy and transparency.

At the beginning or end of the initial conversation with the complainant, the investigator should collect the
below information on a voluntary basis (if the interview is audio recorded, this information should be
collected either prior to starting the recording or after the recording has concluded). Investigators should
ask for this information in such a way that the person clearly understands why it is being sought (to be able
to have future contact and for statistical purposes) and that providing it is completely voluntary. After the
interview has concluded, the investigator should enter and/or update the information in the complainant and
witness entity profiles in the electronic case file, including:
    ▪ Full name
    ▪ Date of birth (or age)
    ▪ Race/Ethnicity
    ▪ Gender identity
    ▪ Email address
    ▪ Street address (and mailing address, if different)
    ▪ Phone number(s)
    ▪ Complainant disclosure preference (yes or no)

As a general matter, none of the above information, except the complainant’s name, should be included in
any OPA investigative document or audio recording. This does not preclude demographic information from
being referenced in the OPA investigation or findings where it is relevant to the allegations being assessed,
such as biased policing.
                     During the interview
The complainant should be asked to describe what happened, where and when, and to provide any other
information they may have describing the named employee(s), whether there were witnesses who could be
contacted, and any other evidence that might assist the investigation. The investigator will attempt to obtain

37   Ordinance 125315, supra, § 3.29.125(B).


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any relevant photos, private video, text messages, or other evidence from the complainant. If an injury was
reported, the investigator will ask the complainant if photos may be taken and/or whether they will sign a
form authorizing the release of medical records for the treatment of the injury to OPA.

            Gathering evidence
It is important that investigators recover and preserve any perishable evidence at the earliest opportunity,
especially if there has been a time gap between the incident and the complaint. Investigators should ask
complainants and witnesses whether any private evidence exists (texts, photos, videos, social media posts,
etc.), request that they be downloaded or saved, and inquire how OPA can obtain originals or copies. In
addition, investigators should gather relevant documentary and physical evidence, including 911 and
communications audio, CAD records, precinct or unit logs, incident and arrest reports, BWV, ICV, use of
force reports, jail booking records, traffic or parking infractions/citations, and other relevant documentation
of the incident. In some instances, a site visit is appropriate for the investigator to assess or photograph the
scene. If circumstances make it impossible to obtain or review certain evidence during the intake
investigation (e.g., obtain a video or interview a witness), the investigator should record this information in
the intake follow up report.

All evidence should be saved to the investigator’s own folder for backup and uploaded to the electronic
case file. This should be done in such a manner that the case file can, on its own, provide the basis and
supporting documentation for the findings ultimately reached.

            Complaints eligible for alternative dispute resolutions
                     Mediation
Information on mediation, including eligibility criteria, can be found in OPA Manual section 8.4. If the
investigator believes a complaint may be well suited for mediation, it should be discussed with a supervisor
during the intake investigation. For complaints that are eligible for mediation, the investigator or other OPA
representative should inform the complainant of the mediation process and ask if the complainant would be
interested in this option if the case is selected for mediation. Investigators should not ask the complainant
if they would be interested in mediation if the complaint does not meet the mediation eligibility criteria.
The investigator should note in the intake follow up report whether the complainant expressed interest in
mediation, or the reason mediation was not discussed.
                     Rapid Adjudication
Information on Rapid Adjudication (RA), including eligibility criteria, can be found in OPA Manual section
8.5. The intake investigator may recommend the RA option in the completed intake follow-up report and
case routing to a supervisor (which happens at or around day 20). OPA completes an intake investigation
even for cases that are considered for RA. The supervisor, in consultation with the OPA Director, is
responsible for deciding whether a case is appropriate for RA. The supervisor and OPA Director may
suggest RA or consider an employee’s request for RA prior to complaint classification.38

            Completing the intake investigation
The intake investigator should endeavor to complete the intake investigation and route the case to a
supervisor for review within 20 days after OPA receives the complaint, unless otherwise extended by up to
5-8 days by a supervisor. This information will be documented in the case file. Due to certain notification
requirements contained in the City’s contracts with employee unions, the intake investigation must be
completed in a timeframe that allows OPA to make a classification decision and send contractual notice
within 30 days from the day OPA initiates or receives the complaint.

38   See SPOG Agreement, supra, § 3.11(B); SPMA Agreement, supra, § 16.8(B).


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5.4       Classification

          Intake review
A supervisor reviews the intake investigation and determines the specific allegations by assessing whether
any laws or SPD policies would have been violated if the alleged actions are later proven to be true. The
supervisor records each allegation and the corresponding SPD policy directive in effect at the time of the
incident that resulted in the complaint. A single complaint may contain multiple allegations of misconduct
against one or more employees.

The supervisor also determines whether the correct employees were added to the case and, if necessary,
adds or removes employees to ensure that the alleged misconduct identified by the complainant is
addressed.

          Classification types and definitions
The supervisor, acting in their capacity as the Director’s designee, determines how the complaint is
classified. Expedited Investigations are only classified as such if OIG approves the classification decision
and certifies the case as thorough, objective, and timely.
                    Contact Log
A case may be classified as a Contact Log under the following circumstances: (1) The complaint does not
involve a potential policy violation by an SPD employee; (2) there is insufficient information to proceed
with further inquiry; (3) the complaint is time-barred under the contractual statute of limitations; (4) the
complaint has already been reviewed or adjudicated by OPA and/or OIG; or (5) the complaint presents fact
patterns that are clearly implausible or incredible, and there are no indicia of other potential misconduct.
                    Supervisor Action
The complaint generally involves a minor policy violation or performance issue that is best addressed
through training, communication, or coaching by the employee's supervisor.39 In these instances, OPA
sends a memo mandating the employee’s supervisor to take specific, relevant action with the employee.
The supervisor has 15 days to complete the action and return the case to OPA for review. Upon request by
the supervisor, OPA may extend the deadline for completion. OPA may not classify allegations of excessive
force, biased policing, and violations of law for Supervisor Action.40 In some cases, OPA may issue an
“FYI” Supervisor Action for a complaint deemed unfounded through the intake investigation that does not
meet the criteria to be closed as a Contact Log. In these situations, OPA directs the chain of command to
take no action other than informing the named employee of the complaint’s closing.
                    Investigation
The complaint alleges a violation of SPD policy or other category of violation that OPA is required by law
and policy to investigate.41 In these instances, OPA conducts a comprehensive investigation (e.g., gathering
additional evidence, interviewing involved parties and/or witnesses, etc.) and issues recommended findings.
An OPA Investigation can result in formal discipline.




39 Minor policy violations are defined by SPD Manual 5.002 and OPA classification precedent. Examples of cases generally
classified as Supervisor Actions under OPA’s classification precedent include non-intentional failures to activate body-worn video,
minor driving issues, minor paperwork deficiencies with no prior similar conduct, and missed trainings with no prior similar
conduct.
40 Ordinance 125315, supra, § 3.29.125(A).
41 Id.




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                  Expedited Investigation
The complaint alleges a violation of SPD policy or other category of violation that OPA is required by law
and policy to investigate.42 However, OPA, with the agreement of OIG, determines that findings can be
reached based on the intake investigation, and no further investigation needs to be conducted. In cases
classified for Expedited Investigation, OPA will generally not interview named employees but may
interview witness employees. Per CBAs, if OPA does not interview a named employee, allegations against
them cannot be sustained. This classification may be appropriate if: (1) the evidence shows that misconduct
did not occur as alleged; (2) minor misconduct occurred, but OPA deems corrective action via a training
referral, rather than discipline, to be appropriate; or (3) minor misconduct may have occurred, but there is
a systemic issue with SPD policy or training for which OPA deems a Management Action Recommendation
(MAR) to be appropriate.

An Expedited Investigation classification should not be utilized for cases where one or more of the
following are present: (1) a lack of video depicting relevant and material issues of fact or elements of the
alleged misconduct; (2) multiple unrelated allegation types involving two or more named employees;43 (3)
complex or confusing fact patterns; or (4) cases involving matters of significant public concern.

Where an Expedited Investigation is contemplated for the purpose of issuing a training referral, the
following elements must be met: (1) the policy violation is minor; (2) the conduct was self-reported or
timely identified and addressed by the chain of command; (3) the officer acknowledged responsibility for
the violation; and (4) the employee does not have a history of similar sustained violations or other
significant disciplinary issues.

Where an Expedited Investigation is contemplated for the purpose of issuing a MAR, the following
elements must be met: (1) there is a clear gap in policy and/or training or a pattern of officer behavior that
suggests a systemic practice; (2) the conduct at issue is a result of a gap in policy and/or training or
consistent with the identified systemic practice; (3) there is no evidence indicating willful misconduct; and
(4) the matter is best addressed with a MAR.
                  Mediation
The complaint involves a misunderstanding or conflict between an SPD employee and a community
member that may be suitable for resolution via a face-to-face discussion by the involved parties. Mediation
is voluntary and can only occur if both parties agree to participate. It is an opportunity for the employee
and community member to discuss the conflict with the guidance of a neutral, third-party mediator. If the
mediator reports that the employee participated in good faith (listened and participated respectfully), the
complaint will not appear on the employee’s disciplinary record.
                  Rapid Adjudication
The complaint involves a minor to moderate policy violation that the named employee recognizes was
inconsistent with policy. The employee is willing to accept discipline in place of undergoing a full OPA
Investigation.

         OIG classification certification
OPA routes cases that are recommended for partial or full handling as Expedited Investigations to OIG for
simultaneous classification review and investigation certification. If OIG concurs, they attach a



42 Id.
43 This does not preclude specific allegations within these cases from being proposed as Expedited if appropriate under the
circumstances.


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Certification Memo to the case file and route it back to OPA. If OIG does not concur, an Expedited
Investigation classification cannot be used. The complaint is typically classified for full OPA Investigation.

Per the Ordinance, OIG will audit random samples of OPA classifications unless OIG determines, based
on an assessment of risk, that individual review of classifications is warranted.44 In such scenarios, OIG
will identify classification types that OPA must provide for individual review. OPA will route the intake
investigations to OIG with sufficient time for the intake and proposed classification to be assessed.

         Classification notices
                  30-day notice to named employees
CBAs for sworn employees through the rank of captain require that OPA provide a classification report
(“30-day notice”) to the involved named employees. The classification report will identify the complainant
and named employee(s), include a factual summary of the underlying incident and allegations against the
named employee(s), the SPD Manual sections implicated, and OPA’s classification for the complaint.45
OPA administrative staff and/or supervisors ensure that the 30-day notice is emailed to the named
employees—and copied to their unit captain/civilian equivalent and union—within the designated timeline.
A record of the notification is saved to the case file as evidence of the date and time the notice was sent.

If OPA’s intake determines that an alleged involved employee was not involved in the underlying incident
or was instead a witness to the incident, OPA sends a notice to the employee to disregard the notice of
complaint (“disregard notice”). Witness employees may still be called in for OPA interviews.

If an employee is still unidentified at the time of classification, OPA sends the 30-day notice to the union
most likely to represent the unknown employee. OPA notifies the union by day 60 if the employee is still
unknown, from which point the 180-day timeline is held in abeyance if the employee were to later be
identified.46 If the unknown employee is later identified, OPA will send a notice of complaint and a
classification report to the employee within five days of the discovery. The tolling pertains to the portion
of the case involving the unknown employee; the remainder of the case continues to be governed by the
applicable contractual timeline.
                  Classification notice to complainant
OPA sends a classification letter to the complainant after the case has been classified. The classification
notice is sent by email or by postal mail when no email address is provided for the complainant. If a
complaint is submitted anonymously but an email address is provided, staff should send the complaint
receipt notice to the email address listed on the complaint. A record of the notification is saved to the case
file as evidence of the date and time the notice was sent.

5.5      Supervisor Action Process
If a case is classified for Supervisor Action, OPA administrative staff prepare a Supervisor Action
Notification (SAN) to be transmitted to the employee’s chain of command under the direction of OPA
supervisors. The SAN mandates specific action, such as contacting the complainant, counseling the
employee, and/or assigning relevant training to the employee. In addition, OPA may direct that a certain
topic be addressed at a roll call if the topic is believed to be beneficial for all precinct officers. The chain
of command has 15 days to take the recommended action, document it in the case file, and return it to OPA.
OPA staff follow up with the chain of command on overdue Supervisor Actions. Once returned to OPA,


44 Ordinance 125315, supra, § 3.29.250(A).
45 See SPOG Agreement, supra, § Appendix H.
46 Id. § 3.6(B)(1).




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administrative staff review the chain of command’s report to make sure the directed actions were completed
as required. If additional information is still needed, administrative staff will notify OPA supervisors for
appropriate follow up. OPA administrative staff ensure the chain of command’s report and/or any
performance record associated with the Supervisor Action is uploaded to the case file.




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6.0      INVESTIGATION PROCESSES

6.1      Investigation Assignment
If the complaint is classified for full Investigation, a supervisor assigns the case to an investigator. The
supervisor may consider various factors when making case assignments, including investigator subject
matter expertise and workload. However, if possible, OPA will assign the investigation to the same
investigator who conducted the intake. Investigation assignment is aligned with contractual agreements.
For example, if one of the named employees is of a rank higher than sergeant, the SPMA contract requires
that an investigator of equal or greater rank conduct the interview.47 In these cases, an OPA supervisor will
work with the assigned investigator to manage the investigation.

6.2      Investigation Timeline
The OPA Director or their designee is responsible for calculating and confirming the 180-day investigation
deadline. In some cases, OPA may start the 180-day timeline from the date of the incident, even when the
complaint is received at a later date, to ensure that the deadline is not inadvertently missed. Requirements
for calculating OPA’s 180-day investigative timeline are set forth in employee CBAs.48

Investigations are assigned to an OPA investigator at around day 30 in the 180-day timeline unless the case
involves criminal allegations or other extenuating circumstances. Investigators continuously discuss cases
with supervisors as the timeline progresses. Investigators should strive to complete their investigation in
roughly 90 days, or by day 120 in the 180-day timeline. The actual time needed to complete the investigation
may vary depending on several factors, including the availability of the named employee(s), the complexity
of the case, and the investigator’s case load. This should always be discussed with a supervisor in advance
of day 120, and generally no later than day 90, so OPA can ensure that any needed adjustments are made,
including obtaining an extension to the 180-day timeline. If the 180-day timeline is not met, discipline
cannot be imposed in a case where the employee was found to have engaged in misconduct.

For cases that result in not sustained findings, regardless of the employee’s bargaining unit, the 180-day
timeline ends when the OPA Director issues recommended findings via a Director’s Certification Memo
(DCM).

For cases that result in sustained findings, and where the employee is represented by SPOG, the timeline
stops when the proposed Disciplinary Action Report (DAR) is issued.49 The issuance of an oral or written
reprimand will also stop the timeline. For employees represented by SPMA, the timeline stops once the
employee receives written notice of proposed findings and discipline.50

         Extensions
OPA may request a timeline extension from the union for several reasons, including but not limited to the
short-term unavailability of a named or witness employee, the unavailability of a union representative, or
the rescheduling of an employee interview for reasons beyond OPA’s control. The OPA Director or their
designee may also request a timeline extension when a criminal investigation takes an unusually long time
to complete and renders OPA unable to conduct its investigation before the expiration of the 180-day
timeline. Extensions should be discussed with a supervisor before a request is made to the union. Requests


47 SPMA Agreement, supra, § 16.4(A).
48 See SPOG Agreement, supra, § 3.6(B); SPMA Agreement, supra, § 16.4(C).
49 SPOG Agreement, supra, § 3.5(F).
50 SPMA Agreement, supra, § 16.4(C).




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for a timeline extension should include the number of extension days requested and the reason for the
request. SPD unions approve extensions on a case-by-case basis.

            Administrative tolling
OPA may request that the union administratively toll—or pause—the 180-day investigation timeline for
articulable reasons beyond the control of OPA, such as the extended absence of a named or witness
employee. Named and witness employees who are on approved extended leave should be asked to specify
to SPD HR the accommodations needed to be able to participate in the OPA interview and/or their
anticipated return date. A tolling request will be in writing to the union, documenting the reason for the
request. OPA’s request and the union’s response should be saved to the electronic case file as a record of
the tolling agreement.

OPA may request to toll the entirety of an investigation if one of the named employees becomes unavailable
due to approved leave, including but not limited to military or sick leave. The testimony of one employee
may impact the findings for others. If the investigator and a supervisor determine that OPA can complete a
portion of the investigation without the unavailable employee’s testimony, OPA may ask the union to toll
one employee’s 180-day timeline while OPA continues investigating the remaining employees (“bifurcated
tolling”). If the union agrees to bifurcated tolling for one employee, the OPA Director will issue two sets
of findings compliant with each 180-day deadline. In cases involving both SPOG and SPMA employees,
OPA may seek approval from both unions to toll the 180-day deadline.

The OPA investigator and/or the OPA Director’s designee should follow up as needed with the employee,
their supervisor, and/or SPD HR to monitor the leave status of employees in tolled cases. OPA notifies the
union once the employee becomes available to participate in the OPA investigation and the investigator
schedules the interview.

6.3         Investigation Planning
All investigations require an investigation plan.51 An investigation plan is a strategic document that places
evidence collection and interviews in the context of the overall investigation. All investigation plans must
be formally documented in writing and cannot consist of oral communications, must be agreed upon and
approved by both the investigator and a supervisor, and must be uploaded to the electronic case file when
completed.

The investigation plan must include the following elements:52
   ▪ The prioritization of the investigation within OPA’s ongoing body of work.
   ▪ The witnesses that are to be interviewed.
   ▪ The perishable evidence that will be prioritized for collection.
   ▪ An assessment of other evidence that needs to be obtained.
   ▪ The approach to addressing each allegation classified for investigation.

The investigation plan should further identify potential sources of information, establish anticipated
timelines and chronology for the investigation, and help the investigator anticipate potential issues before
they arise. At the discretion of the supervisor, an investigation plan can be abbreviated, particularly when
dealing with non-complex cases; however, it must still meet the minimum requirements set forth in the
Ordinance.



51   Ordinance 125315, supra, § 3.29.125(F).
52   Id.


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As part of the investigation planning meeting, the investigator and supervisor should discuss the general
investigative approach, as well as identify any time sensitive issues, prospective evidence, and other factors
that may be important in the overall investigative approach. The investigation planning meeting should also
address some or all of the following questions:
     ▪ Will the investigation require assistance from others in OPA (e.g., the complaint is time-sensitive,
        involves many witnesses, and/or the issues are novel or complex and a second perspective is
        useful)?
     ▪ Does the case involve employees from multiple unions, and will this require additional OPA staff
        members or supervisors to conduct witness interviews?
     ▪ Will OPA require outside assistance, such as external forensic video analysis?
     ▪ Is the complaint related to another OPA complaint, investigation by SPD or another agency, or
        litigation from which material evidence might be obtained?
     ▪ Do the named employee or complainant have other open OPA cases with which the investigator
        should be familiar?

6.4     Investigative Steps
The investigative steps taken are often case and fact specific and will be discussed during the planning
stage. Below is a list of common steps—which is neither chronological nor exhaustive—that may be used
as a guide for investigators.

        Evaluate allegations and relevant facts
             ▪   Review the specific violations and applicable SPD Manual sections alleged for each named
                 employee.
             ▪   Save a copy of the SPD Manual sections at issue to the case file, along with any related
                 directives or statutes. If the alleged conduct occurred when a different policy was in effect,
                 that version of the policy must be included. If the alleged conduct occurred over time,
                 include all relevant versions of the policy.
             ▪   Identify the primary and secondary issues involved and the elements that would need to be
                 established to prove or disprove each allegation. Identify the specific actions, behaviors,
                 and words alleged by the complainant.
             ▪   Do not limit the allegations to only the words or facts/allegations raised by the
                 complainant’s first contact with OPA. Follow-up conversations may also encompass
                 potential allegations/facts and should be included in the assessment. Be cognizant that
                 complainants are not expected to frame their concerns within the context of SPD policies.
             ▪   Assess the totality of the facts available and ensure OPA has identified all relevant
                 employees and allegations. If allegations or named employees need to be changed, discuss
                 with a supervisor, who will consult with the OPA Director to make sure amended
                 notifications are sent to the named employees.

        Identify and interview witnesses
             ▪   Identify the main witnesses to the alleged conduct. This will likely include the complainant,
                 named employees, witnesses to the incident, others with information about the incident,
                 and internal or external experts.
             ▪   The complainant likely was interviewed during intake, but consideration should be given
                 as to whether to conduct a follow-up interview, particularly if the original interview was
                 not done in person. Sworn staff members should be cognizant of complainants’ potential
                 reluctance to speak with SPD staff and, as such, should offer a civilian investigator to assist
                 where resources permit.




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             ▪   Add newly identified witness entities and their contact information to the case file; update
                 their disclosure preference (yes or no) based on their response.
             ▪   Consider the order in which to interview witnesses and any special considerations, such as
                 whether any parties are anticipated to be unavailable for a period of time or whether there
                 is concern a witness might be less willing to participate if substantial time passes.
             ▪   Evaluate the relationships among and between witnesses and the named employees and
                 note this in the file.
             ▪   Be conscious of any communication barriers that the interviewee may have (language,
                 ADA, etc.) and accommodations available to facilitate the interview.

        Assess documentary and physical evidence
                 Documentary evidence:
                 ▪   CAD records, precinct or unit logs, incident and arrest reports, property and evidence
                     reports, training protocols or records, use of force reports, Seattle Fire Department
                     medic run sheets, jail booking records, specialty unit manuals, FRB and/or FIT reports,
                     medical records (obtain a medical release), traffic or parking infractions/citations,
                     collision reports, secondary employment permits, external agency investigations
                 Physical evidence:
                 ▪   911 and communications audio, BWV, ICV, precinct holding cell video, video and/or
                     audio from the scene (e.g., security systems from nearby businesses) or taken by
                     witnesses, cell phone footage (streamed events, social media posts, etc.), photographs,
                     texts, maps, phone records

6.5     Conducting Interviews
All interviews will follow best practices as defined in OPA Manual section 6.5(G) and in OPA training.

        General guidelines
                 Order of interviews
Interviews should be scheduled to allow time for preparation by the investigator and to provide sufficient
notice to the individual being interviewed. The order of interviews depends on the specific nature of the
complaint, the anticipated testimony of each person being interviewed, and other strategic considerations,
though circumstances may dictate when an interview can or should take place. Individuals who are expected
to be uncooperative are sometimes best interviewed last, allowing the investigator to gather evidence from
other sources and to develop specific questions, rather than relying on that individual to offer information.

Interviews are generally conducted in the following order:
    1. Complainant
    2. Subject (if not the complainant)
    3. Non-SPD witness
    4. SPD employee witness
    5. Named employee
                 Location of interviews
Interviews of current SPD employees are conducted in person unless the employee’s union agrees to a
virtual interview. If the interview of a named employee does not occur in person, the investigator should
document the reason in the ROI. If possible, interviews of non-SPD witnesses should be conducted in
person, though special considerations may necessitate holding the interview elsewhere (e.g., a complainant



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is in jail). Some non-SPD witnesses may prefer not to come to OPA, so the investigator may need to arrange
to meet with the individual elsewhere. In-person interviews attempted outside of OPA’s office should be
screened with a supervisor. Consideration should be given to having a second investigator attend the
interview.

         Scheduling employee interviews
Investigators should contact employees wanted for an interview to request their availability. Interviews are
scheduled during employees’ on-duty hours.53 For SPD employees covered by the SPOG contract, notice
of scheduled interviews should be sent by email at least five calendar days and no more than 30 days prior
to the scheduled interview day.54 For SPMA employees, notice of an interview must be sent at least three
business days before.55

The email should include an order to appear, the date, time, and location of the interview, information on
employee representation rights and consequences for failing to appear, a confidentiality directive, and
interview documentation options. A copy of the complaint summary, the Police Officers’ Bill of Rights,
and a Garrity advisement should be attached.56 The employee’s captain/civilian equivalent and union are
copied on the email. If a captain elects to not receive these emailed notifications, OPA supervisors should
inform investigators of this preference. The OPA investigator saves a copy of the email to the electronic
case file as evidence of the date and time the interview notice and accompanying materials were sent.

If SPD employees covered by other CBAs are to be interviewed, the investigator should check the
applicable CBA for interview notice requirements.
                   Employee no-show for OPA interview
If an employee fails to appear for a scheduled interview without prior notification, the OPA investigator
should schedule a new interview date as soon as possible while providing sufficient notice to the employee
and their union. The investigator should notify a supervisor and document in the ROI any reason provided
by the employee for the failure to appear. The supervisor will consider whether to initiate a new OPA
complaint against the employee for failing to appear for an OPA interview. After a new interview is
scheduled, the investigator should request a timeline extension from the union for the days lost due to
rescheduling (see OPA Manual section 6.2(A)).

         Scheduling complainant and witness interviews
Interviews of non-SPD complainants and witnesses should be scheduled at the interviewee’s convenience
while avoiding unnecessary delays to the investigation. If a complainant or witness is difficult to locate or
not responsive to OPA’s contact attempts, the investigator may consult with a supervisor on alternate
strategies to contact the individual. In some cases, other OPA staff may assist the investigator in establishing
contact with the complainant. OPA may also consider a visit to the community member’s home or
workplace to establish contact, if necessary. Doing so should be discussed with a supervisor. As a final
step, a letter should be sent asking for contact and indicating a deadline by which OPA needs to hear from
the community member in order for them to participate in the investigation.



53 SPOG Agreement, supra, § 3.12(C)(3).
54 Id. § 3.6(F)(2).
55 SPMA Agreement, supra, § 16.4(H)(2).
56 This informational explains that compelled statements made by an employee during an internal administrative interview cannot

be used against the employee in any subsequent criminal proceedings. In Garrity v. New Jersey, 385 U.S. 493 (1967), the U.S.
Supreme Court ruled that public employees can be compelled by their government employer to make statements against self-
interest as a condition of employment but that the Fifth and Fourteenth Amendment protections against self-incrimination prohibit
the use of such statements or the fruit of such statements against that employee in a criminal prosecution of that employee.


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         Preparing for the interview
Each investigator reviews the issues to be addressed with the interviewee and prepares an outline of topics
to be covered. This outline will serve as an interview guide. The interview guide is a strategic document
and identifies: the aim of the interview; key topics to be covered; and what questions may be posed to
ensure all aspects of the investigation are addressed. The investigator may consider presenting documents,
video, photos, or other evidence for context or as a physical reference of the incident scene. Investigations
of a complex or sensitive nature may warrant a second investigator present at the interview (see OPA
Manual section 6.4(H)). In such cases, a briefing between both investigators is required to ensure that each
investigator is aware of their role and responsibilities during the interview process.

         Recording the interview
All interviews, whether in person or remote, should be recorded in their entirety with consent. Verbal
consent to the recording should be noted at the beginning of the interview. If any discussion of the case or
review of evidence (i.e., video) occurred prior to the interview, it should be noted on the record.

All interviews of SPD employees must be digitally audio recorded and transcribed.57 In addition to the OPA
recording, an employee or their union representative may also choose to audio record the interview. If this
occurs, the recording party must provide OPA with a copy of the full recording. The OPA investigator
provides SPD employees and their union with a copy of the interview recording. Additionally, OPA
provides the employee’s union with a copy of the interview transcription within five days of its
completion.58 OPA personnel save interview recordings and transcripts to the case file.

An employee may object to OPA creating a recording of the interview. If this occurs, the employee is
responsible for retaining a stenographer or court reporter to transcribe the interview and to pay all
appearance and transcription fees and costs. The employee must also provide a certified copy of the
transcription to OPA.59

Investigators should encourage non-SPD complainants and witnesses to consent to a recorded interview
and explain the rationale for the recording. If consent to record is not given, investigators will not record
the interview, but instead document the refusal and prepare a narrative summary of the interview
immediately afterward to include in the ROI. Interviewees are permitted to create their own recording of
the interview. Complainants may ask the OPA investigator who recorded the interview for a copy of the
recording after the interview is complete.

         Role of the union representative
The primary role of a union representative during an OPA interview is to protect the contractual rights of
the employee. The OPA investigator may accommodate the union’s request to place any initial objections
it has on the record before the investigator begins asking questions and should allow for the union
representative to make objections where appropriate. These objections should be concise and should cite to
the contractual or legal provision implicated by the question. Objections should not be disruptive,
argumentative, leading, suggestive of an answer to the witness, prejudicial, insulting, profane, or speaking
objections. Regardless of the nature of an objection, the employee is required to answer the question unless
it is withdrawn by the investigator. The investigator should further provide an opportunity at the end of the
interview for the union to ask any follow up questions it has and for it to place any final objections it would
like to offer that were not previously made at the beginning or during the interview.


57 SPOG Agreement, supra, § 3.6(F)(6).
58 Id.§ 3.6(F)(7).
59 Id.§ 3.6(F)(6).




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            Conducting the interview
All interviews will follow conversational investigative interview techniques. Investigators are required to
act ethically and with integrity. As such, the investigator’s demeanor during the interview should be
respectful, courteous, and professional. Investigators are required to have an assertive and empathetic
mindset that supports a consultative environment for the interview process.

Questions must be relevant, respectful, sensible, sensitive, short (but convey what is required), non-
compound, sincere, and stimulate the interviewee’s thinking and disclosing of thoughts.60 Throughout the
interview, investigators should use repetition to understand details, restate what they heard to ensure
accuracy, and avoid commenting on what was said. Interviews will adopt a funneled approach in that
questions should move from broad to more specific questions.

The interview structure adopts a similar approach for complainants, community witnesses, employee
witnesses and named employees. There are six basic stages in the interview:
                     Opening
At this stage, the investigator establishes a road map and expectations for the interview. This is somewhat
of a scripted approach used to identify each person present in the interview room, as well as other
information such as the date, time, location of the interview, etc. The investigator conducting the interview
reads aloud from the prepared interview guide at the start of the interview to ensure this information is on
the record. The guide explains to those present how the interview will proceed and underscores the
expectation that the interviewee answers truthfully and completely to the questions posed, discloses in detail
what is asked, and does not rush in their explanation. If the person being interviewed is an SPD employee,
the guide specifically asks the employee if he or she does or does not invoke their Garrity rights prior to
giving an interview.
                     Information gathering
At this stage, the interviewee provides their first account of the event at issue. The investigator should use
a “tell, explain, and describe” approach to encourage narrative disclosure by the interviewee.61 The
investigator should ask open-ended questions as much as possible to elicit the interviewee’s testimony.
Interruptions should be kept to a minimum so that the interviewee offers as much detail as possible and the
transcriptionist can hear statements by all participants.

Examples of potential questions to ask include:
   ▪ Tell me what you remember seeing when you arrived.
   ▪ Where were you when you saw the subject?
   ▪ Who was present?
   ▪ What did the other officer tell you happened?
   ▪ Why did you use force on the subject?

For interviews of SPD employees, the investigator may ask questions regarding the background and prior
assignments of interviewees. In addition, the investigator should ask the interviewee about their
understanding of the policies at issue and training they have received relevant to those policies and the
specifics of the case.

As the interview progresses, the funneling approach narrows. Probing questions should then be used.
Closed-ended questions will normally be left until the end of the interview.


60   Eric Shepherd & Andy Griffiths, Investigative Interviewing: The Conversation Management Approach, 197 (3d ed. 2021).
61   Shepherd & Griffiths, supra at 267.


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                 Account development
The interviewer obtains a comprehensive account of the incident. The investigator may assist the
interviewee in the development of their account but should avoid asking leading and closed-ended
questions. These types of questions can generally be answered with a ‘yes’ or ‘no’ or are phrased in such a
way that may be construed as providing a rationale or explanation to the interviewee.

Examples of questions to avoid include:
   ▪ Do you remember seeing the subject with a gun when you arrived?
   ▪ Were you next to your car when you saw the subject?
   ▪ Were Officers X and Y present?
   ▪ Did Officer X say that the subject had a weapon?
   ▪ Did you use your Taser because the subject would not drop his weapon after you asked them to?
   ▪ You were worried about your safety, right?
   ▪ Did the other officers ask for your assistance?

When interviewing non-police personnel, the investigator should avoid using police terminology to ensure
that the interviewee understands what is being asked.
                 Introduce evidence
In this stage of the interview, the investigator introduces evidence in such a way that prevents the
investigator from disclosing what they know or contaminating the interviewee’s memory. The investigator
or interviewee may use tools to help explain and understand what happened, such as a map, diagram, photo,
video, etc. The investigator must be mindful that a written record is being created and that individuals who
review the OPA investigation must understand the interviewee’s testimony in relation to any tool or gesture
used. For example, if the interviewee watches BWV of an incident and makes a comment, the investigator
should make a note on the record of the point in the BWV that the comment was made. If the interviewee
uses their hands to indicate the type of force used or size or distance, the interviewer must document what
the interviewee described (if not audio-recorded) or verbally record the description (if audio-recorded).
                 Manage discrepancies
The investigator should establish the relationships among parties present at the incident, as well as any
other witnesses, with each other, and with the named employee. Perceptions, statements, and credibility
may vary depending on the interviewee’s relationship to others. Where there is a discrepancy between the
interviewee’s testimony and other testimony or evidence, question the interviewee about the discrepancy
without expressing judgment. For example: “You said you returned to the precinct after the incident, but
CAD indicates you responded to another call at the time. Can you help me understand this?”
                 Closure
Before ending the interview, the investigator should ask if the interviewee has any other information about
the incident or complaint they would like to provide, including whether they are aware of other witnesses.
If an SPD employee is represented by their bargaining unit at the interview, the OPA investigator may
invite the union representative to ask the interviewee questions, to which the OPA interviewer may ask
follow-up questions as needed. When interviewing community members, the investigator should always
make sure that OPA has current contact information for all complainants and witnesses and verify that this
information is updated in the electronic case file. The investigator may inform community members that
OPA may need to follow up with them if necessary to clarify information gathered during the initial
interview.

At the end of the interview, the investigator should give specific orders to SPD employees not to discuss
the matter or their interview with unauthorized persons. However, this does not preclude the disclosure of



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the existence of the complaint, nor does it prohibit a discussion of the underlying incident and any relevant
laws, policies, training, and/or tactics during a supervisory debrief and/or counseling session. Community
members who are interviewed should also be encouraged not to talk about the interview or the incident with
others out of fairness to all persons involved.

            Two-person interview teams
Depending on the complexity and sensitivity of the case, it is often useful for two investigators to be
involved in the same interview. In such a situation, the primary investigator on the case takes the lead,
setting strategy prior to the interview, controlling the flow of the interview, asking most of the questions,
taking brief notes, and operating the recorder. The secondary investigator may be tasked with playing
relevant footage during the interview, taking more thorough notes, identifying areas where more probing is
needed, and following up with questions after the primary investigator is finished. On occasion, it will not
be necessary to ask any follow-up questions, but the secondary investigator will still be useful in sharing
notes of the interview and observations about the demeanor and non-verbal behavior of the person being
interviewed.

6.6         Review and Evaluation of Evidence
A “clarify, anomaly, recap, and entirety” review process is used for witness statements.62 This approach
allows the identification of any contradictions and/or inconsistencies in the witness’s account at the
conclusion of questioning. A “final, anomaly, investigation, and reason to suspect” approach is used for
interviews of named employees.63 This process identifies if there are significant omissions at the end of
questioning.

As evidence is obtained during the investigation, it should be carefully and thoroughly catalogued in the
ROI (e.g., source, date obtained, etc.) and uploaded to the case file. At the conclusion of the investigator’s
report, the value and importance of each piece of evidence should be weighed and described in a neutral
and objective manner.

The investigator should carefully evaluate testimonial evidence (statements made by involved parties and
witnesses) for relevance and credibility, while also being mindful to observe and correct their own potential
biases. The investigator may not give any greater or lesser weight or credence to an individual’s testimony
because of that person’s position (including employment by SPD or another City entity), race or ethnicity,
gender identity, economic status, sexual orientation, housing status, or membership in any other protected
class. Only objective criteria relating directly to the truthfulness or credibility of the person should be used
in deciding the weight given to their testimony.

6.7         The Report of Investigation
Once all steps in the investigation have been completed, relevant and material evidence is summarized in
the ROI. Where applicable, all sections of the ROI should be populated with information. Investigators
should proofread their ROIs for substantive, grammatical, formatting, and typographical errors. The ROIs
should set forth evidence in a clear and concise manner. Where possible, the ROIs should avoid internal
duplication. Investigators should refrain from pasting interviews verbatim and, instead, should summarize
salient portions and organize those portions to create a clear narrative.




62   Shepherd & Griffiths, supra at 453.
63   Shepherd & Griffiths, supra at 512.


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All ROIs should have the following characteristics:
    ▪ Evidence should be clearly labeled and concisely described
    ▪ All complaints classified for investigation, as well as any subparts, should be analyzed
    ▪ Inconsistencies in evidence or testimony should be identified and, where possible, assessed against
       other evidence or testimony
    ▪ Where specific statements or testimony is relevant, direct quotes should be used
    ▪ If video is evaluated, the investigator should create a video log that contains timestamps
    ▪ The conclusion section should be able to stand on its own and provide an overview of the complaint,
       the investigation, and the conclusion. It should list each named employee and the SPD policy
       sections at issue. For each policy, the investigator should summarize: the nature of the claim, a
       summary of complainant, employee, and witness accounts as they relate to the policy; a synopsis
       of the video and an evidentiary conclusion, where applicable (i.e., BWV showed three strikes,
       BWV indicated the subject’s hand was not bleeding, etc.).

6.8         Investigation Review and Certification
The investigator will submit the completed investigation to a supervisor for approval. The supervisor
reviews the investigation before routing the case to OIG for final review and certification. The supervisor
will review the case, taking steps consistent with OPA’s internal quality control requirements. This review
should ensure the completeness of the investigation and electronic case file (including the addition and
proper naming of attachments and case-level data), the quality of the ROI and other investigative reports,
and the readiness of the investigation to be reviewed and certified by OIG. Investigations required by OIG
for review and certification should be provided to OIG as soon as possible after the investigator submits
them to a supervisor.

The OIG reviewer documents in writing whether the investigation is: (a) certified as thorough, timely, and
objective; (b) partially certified as one or two of thorough, timely, and objective; (c) not certified because
the investigation is not thorough, timely, and objective but additional investigation is not requested or
directed, and the reason; or (d) not certified because the investigation is not thorough and objective, along
with any requested or directed further investigation to be conducted by OPA.64 Any further investigation
conducted by OPA should be resubmitted to OIG for re-review and certification in a timely manner to
ensure OPA may issue findings prior to the expiration of the 180-day deadline.65 After the investigation is
certified, it is ready for the issuance of recommended findings by the Director.




64   Ordinance 125315, supra, § 3.29.260(F).
65   Id. § 3.29.130(H).


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7.0     INVESTIGATION FINDINGS

7.1     Issuance of Findings
The OPA Director reviews completed investigations and issues recommended findings for each allegation
using a preponderance of the evidence standard. Applying this standard, if the greater weight of the
evidence—more than 50%—supports the allegation, the recommended finding will be “sustained.” If the
preponderance of the evidence shows that misconduct did not occur, or that minor misconduct occurred but
is better handled through retraining and counseling, the recommended finding will be “not sustained.”

If the preponderance of the evidence shows that the actions of an employee violated SPD policy, but such
actions were consistent with specific and known SPD training and/or supervisory direction proven to have
been provided to the employee prior to the incident under review, the OPA Director may consider such
facts in determining whether a sustained or not sustained finding should be recommended.

The DCM summarizes the evidence collected in the investigation and provides an analysis of the facts
through the application of relevant law and policy. The DCM is addressed to the named employee’s chain
of command.

7.2     Not Sustained Findings
For cases in which the OPA Director does not recommend any sustained findings, a copy of the investigative
file is electronically sent to the named employee’s chain of command, who has ten days to review the case
and respond back to OPA whether they agree or disagree with the summary of findings. Where there is
disagreement, OPA administrative staff forward the chain’s response to the OPA Director for review and
consideration.

        Types of not sustained findings
                 Not Sustained Unfounded
The evidence indicates the alleged policy violation did not occur as reported or did not occur at all.
                 Not Sustained Lawful and Proper
The evidence indicates the alleged conduct did occur but was justified and consistent with policy.
                 Not Sustained Inconclusive
The evidence neither supports nor refutes the allegation of misconduct.
                 Not Sustained Training Referral
There was a potential, but not willful, violation of policy that does not amount to serious misconduct. The
employee's chain of command will provide appropriate training and counseling.
                 Not Sustained Management Action
The evidence indicates the employee may have acted contrary to policy, but due to a potential deficiency
in policy or training, OPA issues SPD a recommendation to clarify or revise the policy or training.




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                     Not Sustained Timeliness
The evidence indicates a policy violation occurred, but OPA is unable to issue a sustained finding because
either OPA did not reach its findings within the required timeframe, or the complaint was made to OPA
beyond the allowable timeframe in which discipline can be imposed.66
                     Not Sustained Grievance Settlement
A previously issued sustained finding was overturned on appeal.

            Training referral process
OPA can require that a named employee’s chain of command assign or provide appropriate training or
counseling to address the employee’s misunderstanding, inadequate training, or improper application of a
policy. This encourages the chain of command to address correctable, minor mistakes or behavior that does
not rise to the level of misconduct through education and counseling.

The DCM details the type and scope of training recommended based on the specific facts of the case. It
directs how the training should be documented and gives the chain of command 15 days to respond to OPA
with a report of completed action. OPA administrative staff monitor outstanding training referrals and
follow up with the chain of command as needed.

The training is usually performed by the named employee's immediate supervisor; however, it may be
completed by someone else in the chain of command or a specialty unit. After the training is completed and
the memo returned, OPA administrative staff review the chain of command report for completeness and
save it to the electronic case file. If the required training appears to be incomplete, OPA administrative
personnel forward the follow-up memo to a civilian supervisor to review and assess whether further action
is needed.

            Management Action Recommendations
In the course of an investigation, OPA may identify concerns with SPD policies or training and issue SPD
a MAR to address them. OPA issues MARs in the form of a letter to the Chief of Police and copies the
Assistant Chief of the SPD Professional Standards Bureau, the Inspector General, and the Executive
Director of CPC. The MAR summarizes the incident as it relates to OPA’s policy or training concern,
provides an analysis of applicable SPD policies and training, and includes a recommendation for how the
issue could be addressed from OPA’s perspective.

Through MARs, OPA can be proactive in preventing misconduct before it occurs, while at the same time
ensuring that any discipline imposed as a result of investigations will not be overturned on appeal based on
flaws in SPD policies, procedures, and training, or a determination that officers were held accountable to
standards to which they were not trained or that were unclear.

SPD is not required to implement OPA’s recommendations, but they do actively collaborate and attempt to
find solutions. SPD strives to complete MARs in six months and/or notify OPA of the anticipated
completion date beyond 180 days. OPA and SPD also hold quarterly meetings to discuss concerns and
progress on open MARs. OPA shares MAR updates with accountability system partners.

A MAR is considered complete when OPA receives a formal response letter from SPD either confirming
that SPD took steps to address the concern or declining to implement OPA’s recommendation. OPA reviews
SPD’s response and determines the appropriate closing disposition as “fully implemented,” “partially


66   See SPOG Agreement, supra, § 3.6(G).


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implemented,” or “declined action.” In cases where the MAR resulted in changes to SPD training, OPA
may continue to monitor the full implementation of the recommendation.

7.3         Sustained Findings
If the OPA Director recommends a sustained finding for one or more allegation(s), the following steps are
taken:

            Discipline meeting
The OPA Director or their designee schedules a meeting with the named employee’s captain/civilian
equivalent, assistant or deputy chief, and SPD employment counsel—which form the “discipline
committee”—to review the case and answer any questions concerning the investigation and recommended
findings. Each participant receives the investigative file electronically prior to the meeting and comes
prepared to discuss the investigation. Unless, based on the discussion, the OPA Director amends all
sustained findings to not sustained findings, a disciplinary recommendation is discussed.
                     Proposed discipline
The named employee and their union are notified of the proposed finding and the discipline committee’s
recommended disciplinary range in a document called the proposed Disciplinary Action Report (DAR),
issued by the SPD HR Director.

If the discipline involves an oral or written reprimand, and where the discipline committee does not
recommend a range of discipline above a reprimand, the reprimand is issued at this point and is signed by
an assistant or deputy chief or an SPD employee acting in this role. The discipline is then served on the
employee by their chain of command.

In most cases, the OPA 180-day investigative timeline ends with the issuance of the proposed DAR (or
reprimand packet). For SPOG employees, the timeline ends when the proposed DAR is electronically
served on the union. Service on the employee by their chain of command occurs at some point thereafter.
For SPMA employees, the timeline ends when the proposed DAR is served on the employee.67 If the named
employee separates from SPD employment prior to the DCM issuance, the 180-day timeline ends on the
date of the DCM.

            Loudermill hearing
If the proposed range of discipline involves a suspension, demotion, or termination, the employee has an
opportunity to meet with the Chief of Police to provide information the employee feels the Chief should
consider before making a final decision. This is called the “due process” or Loudermill hearing.68 The
Chief’s office schedules the meeting.

The employee may invite other attendees to the Loudermill. Typically, the employee brings a union
representative. They may also bring an attorney or another SPD employee(s). In some cases, the employee
may present written testimony from other SPD officers or supervisors familiar with the employee’s work.
Attendance depends on the employee’s CBA but generally includes the Chief of Police, the OPA Director,
the SPD HR Director, an assistant or deputy chief, and legal counsel. The Inspector General is also
authorized to attend. Where the OPA Director is unavailable, attendance at the Loudermill may be delegated




67   SPMA Agreement, supra, § 16.4(C).
68   See Cleveland Board of Education v. Loudermill, 470 U.S. 532 (1985).


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to another OPA supervisor when the discipline for a SPOG employee involves a suspension under eight
days.69 The OPA Director should provide timely notice of delegation to the union.

If information arises at the Loudermill that necessitates, in the Chief’s opinion, further investigation or
consideration by OPA, the Chief may request that OPA perform additional investigation. In such cases, the
OPA 180-day timeline will be automatically extended up to 60 days to allow OPA to complete the
additional investigation.70 OPA may seek additional time to conduct the investigation from the union. OPA
may also independently determine that additional investigation is warranted after a Loudermill and
subsequently request an extension from the union.

After the employee has presented information for the Chief to consider and the Chief has had an opportunity
to review relevant information pertaining to the incident, the investigation, and the employee’s personnel
record and past disciplinary history, the Chief makes the final decision on findings and determines the
discipline to be imposed for any sustained allegation(s).71 There is currently no established timeline or
required deadline within which the Chief must issue a final decision in a disciplinary matter.

         Final Disciplinary Action Report
Once the Chief makes a final determination on discipline, the SPD HR Director notifies the employee and
their union in writing through the final DAR. The named employee’s chain of command serves the
discipline on the employee and returns a signed receipt of the service to SPD employment counsel.
Discipline may include the following: oral reprimand, written reprimand, suspension without pay (up to 30
days), or termination. If the Chief issues no discipline for a sustained finding, the employee is served with
a closure letter. In some cases, the Chief may also impose a demotion, disciplinary transfer, or require
further training in addition to another form of discipline.

If the employee is no longer employed by SPD, the DAR is mailed to their home address. The discipline
may either be: resigned or retired prior to discipline, resigned or retired prior to termination, or resigned or
retired in lieu of termination.

The CJTC is responsible under state law for all matters of police officer certification. SPD HR must send a
notice of peace officer separation to the CJTC within 15 days of any police officer separation.72 If an officer
is terminated and the violation meets the criteria for disqualifying misconduct under state law, the CJTC
must decertify the officer upon completion of any disciplinary proceeding (including appeal).73 If an officer
resigns or retires due to misconduct, even if the misconduct was undiscovered at the time of resignation,
the officer will be investigated by the CJTC as though they were still an employee. If decertified, they will
no longer be allowed to be an officer anywhere in the state. A record of all CJTC investigations and case
dispositions will be made publicly available and will be entered into an interstate database.74 OPA monitors
ongoing CJTC investigations into SPD officers and provides the CJTC with responsive records upon
request.

         Chief’s authority to overturn OPA findings
If the Chief ultimately disagrees with one or more of the OPA Director’s recommended findings, the Chief
must meet with the OPA Director to discuss the anticipated reversal and to allow the OPA Director the


69 SPOG Agreement, supra, § 3.5(D).
70 See SPOG Agreement, supra, § 3.5(F); SPMA Agreement, supra, § 16.6.6.
71 SMC 3.28.810(F).
72 SB 5051, § 11 (2021).
73 Id. § 9.
74 Id. § 21.




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opportunity to provide a response. If, after the meeting, the Chief still wishes to reverse the findings, they
must provide their rationale in a written letter to the Mayor, City Council, OPA Director, Inspector General,
CPC co-chairs, and CPC Executive Director within 60 days of their final decision.75 OPA’s annual report
includes information on findings overturned by the Chief.

7.4         Notice of Missed 180-Day Timeline
If OPA fails to issue investigation findings within the 180-day contractual timeline required for current
SPOG or SPMA employees, OPA will issue a written statement within 30 days of the final certification of
the investigation by the OPA Director documenting the allegations and the reason why the time limit was
exceeded.76 The letter is addressed to the Mayor, the City Council President, the City Councilmember
assigned to chair the committee overseeing public safety, the City Attorney, the Inspector General, and the
CPC Executive Director. The notice is also provided to the complainant, included in the case file, and made
publicly available.

7.5         Case Closing Process
After the employee’s chain of command has had the opportunity to review the findings and offer comments,
OPA administrative staff prepare a Closed Case Summary (CCS), which lists the SPD policy directives at
issue, OPA’s recommended findings (taken from the DCM), and the discipline imposed by the Chief, if
any. The CCS is sent to the employee by way of their chain of command, as well as to the complainant.
Once this is complete, OPA administrative staff close the case, and the CCS is published on OPA’s website.

OPA administrative staff ensure that investigations are closed in a timely manner, generally around 30 days
after findings are issued in not sustained cases. In some instances, the closing of a case may be delayed due
to case-specific circumstances, such as the extended absence of an employee who receives a training
referral, when the case involves multiple employees from different chains of command, or due to heavy
workloads and/or case volume within OPA. OPA administrative staff strive to close sustained cases within
15 days after discipline is imposed on the named employee, when possible. OPA may expedite the case
closing process in the interest of transparency based on community concerns about an incident or when
resources permit.

            Closing notices
                     Case completion notice to named employees
OPA administrative staff ensure that a case completion notice is emailed to the named employee(s) and
copied to their unit captain/civilian equivalent, SPD HR Director and assistant, and union. A record of the
email notification is saved to the case file as evidence of the date and time the notice was sent.
                     Case completion notice to complainant
OPA administrative staff send a case completion notice to the complainant after the case is closed, including
a copy of the CCS document. When the findings include a Management Action Recommendation, the
closing letter will include a copy of the letter written by the OPA Director to the Chief of Police. Notices
to complainants are sent by email or by postal mail when no email address is provided. If a complaint is
submitted anonymously but an email address is provided, staff should send the complaint receipt notice to
the email address listed on the complaint. A record of the notification is saved to the case file as evidence
of the date and time the notice was sent.



75   Ordinance 125315, supra, § 3.29.135(B).
76   Id. § 3.29.135(C).


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8.0     OPA PROGRAMS AND PROTOCOLS

8.1     Unsubstantiated Misconduct Screening
Allegations of misconduct that are clearly refuted by evidence can be investigated and documented by the
chain of command and then screened with OPA via email. The OPA Director or their designee reviews the
information and relevant video to determine if the allegation is disproved by the evidence or whether it is
necessary for the supervisor to formally submit the allegation of potential misconduct to OPA. OIG
conducts quarterly audits of cases screened through the program to ensure the integrity and continued
success of the process.

The screening process is set forth in SPD policy.77 As a general matter, allegations that are appropriate for
screening include excessive force, violations of law, sexual assaults, and unlawful search and seizure.
Incidents that are not fully captured on video and that have complex fact patterns will generally not be
appropriate for screening. In addition, bias allegations will generally not be appropriate for screening and
should be assessed in either a Bias Review or an OPA complaint referral. The chain of command may
screen incidents with the OPA Director if they are unclear whether a Bias Review is required.

8.2     Criminal Referrals
If a complaint involves a potential violation of criminal law, OPA refers the matter for criminal
investigation and, in most cases, suspends the administrative investigation into the complaint.

        Administrative process for criminal complaints
The OPA Director generally receives information from an employee’s supervisor or a member of the chain
of command that an employee was arrested, is the subject of a criminal investigation, is the respondent in
an order of protection, or may have engaged in acts that rise to the level of criminal behavior. This
information may also be received through other means, including but not limited to an external agency,
another SPD employee, or a community member.

When OPA receives notice of potential criminality, administrative staff generate a new “OPA Restricted”
case and notify a supervisor. The OPA Director or their designee will instruct administrative staff on how
to prepare a criminal referral letter to the law enforcement agency with jurisdiction over the incident. If the
matter is to be investigated by SPD, OPA delivers the referral letter to the Assistant Chief of the
Investigations Bureau. If the incident occurred in an outside jurisdiction, OPA may deliver the referral letter
directly to the appropriate law enforcement agency and should also notify the SPD Investigations Bureau.
If the incident occurred within Seattle, but OPA believes that there is a conflict of interest or another
legitimate reason that necessitates that the matter be investigated by an outside law enforcement agency,
OPA may make a written request for this to occur. If the Chief of Police concurs that the case should be
sent to an outside law enforcement agency, the Chief must confer with OPA concerning the selection of
that agency. If the Chief does not concur, an explanation for this decision must be provided to OPA.

In some cases, OPA may conduct a preliminary investigation into the complaint, which is usually limited
to obtaining a copy of the incident report or other associated paperwork generated at the outset of the




77SPD Policy 5.002-POL-4; 5.002-PRO-1. United States v. City of Seattle. No. 12-CV-1282 JLR (W.D. Wash. May 2, 2019)
(Order Approving Policy at DKT #563).


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incident. At a minimum, a “conformance to law” allegation is made in the OPA complaint, though other
allegations may be added at the conclusion of the criminal process as more information is obtained.78

The usual notice of complaint and 30-day notice requirements for named employees do not apply when
criminal allegations are involved.79 Instead, a classification report is issued to the employee once the
criminal matter is concluded and OPA moves forward with its administrative investigation.

Every case transmitted to SPD for criminal investigation must be formally referred to a prosecuting
attorney’s office for a charging decision. SPD is required to notify OPA once this referral occurs. If the
case is prosecuted, SPD is further required to notify OPA once the prosecution has concluded.

As a general matter, once there is a conclusion to the criminal investigation (verdict, decline notice, etc.),
OPA initiates the administrative investigation. Exceptions are described in more detail below. At this point,
a civilian supervisor assigns the complaint for intake investigation. After an initial review of the criminal
investigation and OPA intake, a civilian supervisor makes a recommendation to add other applicable
allegations that OPA will investigate. Complaints that were referred for criminal investigation will
generally be classified for full OPA Investigation.

          Timelines for criminal investigations and prosecutions
Under the SPOG agreement, the 180-day timeline tolls when the alleged crime occurred outside of Seattle
and the case is being criminally investigated by an outside law enforcement agency, or when the case is
being reviewed or prosecuted by a city, state, or federal prosecuting authority.80 The 180-day timeline does
not toll when a case involving a SPOG employee is referred to SPD for criminal investigation or where the
alleged crime occurred within Seattle and is being investigated by an outside law enforcement agency. Once
SPD refers the matter for review to CAO or KCPAO, the 180-day clock stops and does not resume until
there is a decline notice or verdict in a criminal trial, whichever is later.81

Under the SPMA agreement, OPA’s timeline tolls any time a case is being criminally investigated or
prosecuted, regardless of where the crime occurred and whether the case is being investigated by SPD or
an outside law enforcement agency.82

In rare cases, OPA may choose to conduct its administrative investigation concurrently with a criminal
investigation or prosecution. In such instances, the 180-day timeline continues to run.83

The OPA Director’s designee will maintain communication with the criminal investigating entity and/or
prosecutor regarding the criminal case status to ensure that the timeline is maintained. The staff member
notifies a supervisor and/or the OPA Director when the criminal investigation is expected to take a
particularly long time or may impact OPA’s ability to resume or complete its administrative investigation
within the 180-day timeline.




78  This step is necessary to ensure that proper notifications are made to prosecuting authorities under the Brady rule, when
applicable.
79 SPOG Agreement, supra, §§ 3.6(A), 3.7.
80 SPOG Agreement, supra, § 3.6(B)(2).
81 Id. There is a lack of clarity in the SPOG contract about whether the 180-day timeline resumes on the date OPA receives notice

of the criminal case completion or on the date the decline or verdict is reached, even if OPA is notified at a later date. Under the
SPMA contract, the former applies. See SPMA Agreement, supra, § 16.4C(1).
82 SPMA Agreement, supra, § 16.4(C)(1).
83 SPOG Agreement, supra, § 3.7.




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         Tracking criminal cases
OPA administrative staff maintain a tracking sheet of pending criminal cases involving SPD employees,
regardless of whether they are being investigated internally, externally, or under review by a prosecutor.
The tracking sheet must include the name of the agency handling the investigation, the detective and/or
prosecutor assigned to the investigation, and their contact information.

After a case has been with the investigating agency for 60 days, the OPA Director’s designee follows up
with the agency or prosecutor twice a month to inquire on the status of the criminal investigation. The OPA
Director’s designee should make appropriate notations in the OPA case file and the criminal referral
tracking sheet to reflect the most recent status of the pending criminal review.

OPA provides a bi-annual report of active criminal referrals to OIG.84

8.3      EEO Screening
Workplace discrimination and harassment is prohibited under City of Seattle, State, and Federal laws.85
City of Seattle Personnel Rule 1.1 and SPD Manual 5.040 require all employees to report workplace
discrimination or harassment related to any of the EEO protected classes.86 City of Seattle protected classes
include race, sex/gender, age, disability, sexual orientation, national origin, gender identity, political
ideology, marital status, parental status, religion, ancestry, veteran status, genetic information, color, or
creed.87

Any allegations related to EEO protected classes made by or involving OPA staff must be reported to an
OPA supervisor and/or to the SPD EEO investigator or Seattle Department of Human Resources.

OPA staff must notify a supervisor if they become aware of potential workplace discrimination or
harassment during the course of an investigation or if a complaint contains hybrid OPA-EEO allegations.
OPA supervisors will ensure that these complaints are screened, as necessary, with the SPD EEO
investigator. OPA and SPD EEO developed a protocol governing the referral of complaints that may partly
or entirely fall under the jurisdiction of the EEO investigator.

         Complaint only contains allegations for EEO
If the screening results in an EEO investigation and no other policies under OPA’s jurisdiction are
identified, OPA processes the complaint as a Contact Log and links to the EEO case number. OPA
administrative staff send a closing letter to the complainant stating that the case has been referred to EEO
and provides the EEO case number. The letter will also detail that a new OPA case could be initiated if the
EEO investigator uncovers potential non-EEO policy violations.

         Complaint contains hybrid OPA-EEO allegations
OPA coordinates a meeting between the EEO investigator, OPA investigator, and OPA supervisor to
discuss the allegations at issue, which entity will handle each allegation, and any necessary coordination
between the offices to process the complaint. When feasible and if appropriate under the specific
circumstances of each case, OPA and EEO conduct joint interviews. The OPA and EEO investigators may
conduct subsequent case planning meetings as needed. OPA should determine if the EEO investigation


84 See Ordinance 125315, supra, § 3.29.145(E).
85 See RCW 49.60; Title 162 WAC; U.S. Equal Employment Opportunity Commission, https://www.eeoc.gov/discrimination-type.
86 City of Seattle Human Resources Dep’t, Personnel Rules (2021), https://www.seattle.gov/human-resources/rules-and-

resources/personnel-rules.
87 Personnel Rules, supra, § Preamble.




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could impact the timely completion of OPA’s administrative investigation, and whether any future
extensions to the 180-day deadline should be requested from the appropriate union. If both investigations
result in sustained findings, a joint discipline meeting may be held, and combined discipline may be issued
under the OPA and EEO cases.

            Complaint only contains allegations for OPA
OPA proceeds with the preliminary investigation and saves the EEO screening in the case file.

8.4         Mediation
OPA has the discretion to recommend certain cases for mediation based on eligibility criteria. Typically,
OPA will assess mediation eligibility during the 30-day intake period. Research cites that mediation delivers
the best results when conflict is moderate. Complaints alleging unprofessionalism, bias, and general
miscommunication may be eligible for mediation. Criminal allegations, dishonesty, misuse of authority,
and other serious policy violations are not eligible for mediation. In addition, an allegation of bias that
appears likely to be sustained is not appropriate for mediation. If a case contains multiple allegations of
misconduct where only one or some of the allegations are eligible for mediation, the case will not be
considered for mediation.

When reviewing the intake investigation, a supervisor may recommend a case for mediation. In such
instances, OPA will classify the case for full OPA Investigation. The classification may be updated later if
all mediation requirements are met. Mediation is voluntary and can only occur if both the named employee
and the complainant agree to participate. If mediation fails for any reason, the case moves to a full
investigation.

OPA partners with King County Office of Alternative Dispute Resolution to supply trained mediators.
Should OPA wish to pursue an alternative contractor or method of obtaining mediators, OPA will consult
with SPD labor unions per the collective bargaining agreement.88

A civilian OPA staff member supports OPA supervisors in scheduling, coordinating, and arranging all
required forms and documentation for the mediation. On the scheduled date of the mediation, the OPA staff
member ensures that the mediator and all participants complete an exit survey. If the mediator reports that
the named employee listened and participated respectfully, OPA will not conduct further investigation into
the matter and the complaint will not appear on the employee’s OPA Officer Card.

OPA provides training to investigators on mediation best practices, with a focus on appropriately explaining
mediation as a valuable alternative to the traditional complaint resolution process.

8.5         Rapid Adjudication
Rapid Adjudication is a collectively bargained alternative resolution and program available to sworn SPD
employees represented by SPOG and SPMA. It encourages SPD employees to take responsibility for
conduct that is inconsistent with SPD policy. The employee accepts pre-determined discipline in lieu of
undergoing a full OPA investigation. RA provides faster case resolution for the complainant, named
employee, and OPA while upholding principles of accountability.




88   See SPOG Agreement, supra, § 3.10.


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         Process
                   Classification proposal
Rapid Adjudication may be initiated by a named employee or by OPA before or after the completion of the
intake investigation.89 The OPA Director and supervisors determine if a case (or portion of a case) is eligible
for RA. OPA sends RA classification proposals to OIG for review and agreement prior to classifying (or
reclassifying, if the request for RA occurred post-classification) as RA.

If OPA is initiating RA, OPA may send written communication to the named employee and their union to
inquire whether the employee would be interested in RA if it is approved by the Chief. OPA should consider
requesting that SPOG toll or waive the 30-day classification timeline to allow the following steps to occur
before classifying the case.
                   Disciplinary recommendation, offer, and acceptance
If OIG concurs with the RA classification, OPA informs legal counsel of a potential RA case. Legal counsel
reviews the employee’s history, past discipline, and the nature of the allegations to help inform a
disciplinary recommendation. OPA presents the RA and recommendation for discipline (or proposed range
of discipline) to the Chief of Police.

If the Chief accepts the RA and recommended discipline, OPA will notify the employee in writing of the
Chief’s acceptance of RA. The employee may then accept or reject the discipline. If a range of discipline
is offered, the employee may request to meet with the Chief to discuss the case.90 If the employee rejects
the discipline, the case is classified for investigation. The rejection of RA at any stage by the employee or
OPA has no bearing on the outcome of the employee’s investigation or potential discipline.

The timing of these steps is determined by the employee’s CBA.91 All discipline imposed through RA is
final and binding and is not subject to employee grievance or appeals processes. To document the case, the
OPA Director issues a Rapid Adjudication Memorandum, the RA equivalent of a DCM. As with sustained
cases, SPD issues discipline in the form of a final DAR.

         Eligibility criteria
Cases involving minor to moderate misconduct may be eligible for RA. OPA determines RA classifications
on a case-by-case basis. The following allegations are ineligible for RA:
    ▪ Criminal violations: SPD Manual 5.001-POL-2 – Employees Must Adhere to Laws, City Policy,
        and Department Policy
    ▪ Dishonesty: SPD Manual 5.001-POL-11 – Employees Shall be Truthful and Complete in All
        Communication
    ▪ Force: SPD Manual 8.200 – Using Force
    ▪ Bias: SPD Manual 5.140 – Bias-Free Policing
    ▪ Insubordination: SPD Manual 5.001-POL-15 – Employees Obey any Lawful Order Issued by a
        Superior Officer
    ▪ Failure to report serious policy violations to OPA: SPD Manual 5.002-POL-6 – Employees Will
        Report Alleged Violations
    ▪ Intentional or reckless violation of policy: SPD Manual 5.001-POL-2 – Employees Must Adhere
        to Laws, City Policy, and Department Policy
    ▪ Retaliation: SPD Manual 5.001-POL-14 – Retaliation is Prohibited


89 See SPOG Agreement, supra, § 3.11(B); SPMA Agreement, supra, § 16.8(B).
90 SPOG Agreement, supra, § 3.11(B).
91 See Id.; SPMA Agreement, supra, § 16.8.




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      ▪   Failure to cooperate in an internal investigation: SPD Manual 5.002-POL-11 – Employees Will
          Cooperate with Department Internal Investigations
      ▪   Any case with a concurrent EEO, FRB, or FIT investigation

8.6       Bias Reviews
SPD frontline supervisors conduct preliminary investigation into bias allegations that are made in the field.
There are two potential outcomes of that investigation: (1) referral to OPA; or (2) entry of a Bias Review.

A Bias Review is an electronic report completed by a frontline supervisor. Officers are required to call a
supervisor to the scene in response to allegations of biased-based policing.92 Frontline supervisors must
conduct preliminary inquiry into the allegations, including attempting to discuss the allegation with the
complainant and assessing the availability of other evidence, including additional witnesses.93 A Bias
Review may only be completed in instances where a supervisor does all of the following: (1) conducts a
preliminary investigation and believes there is no evidence of bias; (2) offers to refer the allegation to OPA
and the complainant declines; and (3) provides the complainant information on how to contact OPA. If the
complainant is non-responsive, non-communicative, or leaves the scene either prior to or during the
supervisor’s response, the supervisor must attempt to reach the complainant and document these attempts
in the Bias Review entry. If contact attempts fail, the supervisor will review BWV/ICV of the incident and
document it in the Bias Review entry. If the supervisor determines misconduct may have occurred or if the
complainant requests a referral to OPA, a Bias Review is not permitted, and the supervisor must refer the
complaint to OPA.94

The supervisor submits the completed Bias Review entry to their chain of command up to the bureau chief
for review. The file is subsequently forwarded to OPA to review the Bias Review and determine if the
allegation was handled appropriately.95 OPA then attaches relevant documentation to the electronic case
file. If OPA has concerns about bias or discovers other potential policy violations, OPA can open a new
case.

8.7       Monitoring Serious Incidents
All serious and deadly force (Type III) is investigated by FIT. Force-related incidents that involve potential
misconduct may also result in a FIT investigation. OPA has a defined oversight role as an observer to all
FIT investigations, including all officer-involved shootings.96 This includes full and unfettered access to
scenes, evidence, FIT files, and interviews of involved and witness officers.

At any point during a FIT investigation, OPA can initiate jurisdiction over the case to conduct an
administrative misconduct investigation. In such scenarios, OPA notifies the FIT chain of command of this
decision and provides the OPA case number.

In addition, OPA or FIT personnel may identify potential criminal conduct on the part of an SPD employee.
OPA is required to discuss this belief with SPD; however, OPA ultimately has the authority to determine
that a criminal referral needs to be made. If a referral is made, a case master will be appointed to ensure
that appropriate walls are maintained between the administrative and criminal investigations.



92 SPD Manual 5.140-POL-5.
93 SPD Manual 5.140-POL-6.
94 Id.
95 SPD Manual 5.140-PRO-1.
96 SPD Manual 8.400-POL-5; 8.400-TSK-21.




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8.8         Appeals of OPA Findings
There is no process for complainants to appeal the outcome of their complaint. An OPA staff member may
provide informal mediation of the dispute or assist the complainant in contacting OIG, if requested.

Employee appeal rights are governed by CBAs and City of Seattle personnel rules. Represented employees
may appeal any disciplinary decision involving suspension, demotion or termination to either the Public
Safety Civil Service Commission or arbitration as provided in their CBA.97

When possible, OPA will inform the complainant of any appeal or grievance of discipline filed and the
outcome of such appeal or grievance. In addition, OPA will update the Closed Case Summary upon
completion of an appeal to reflect any outcome from a settlement or decision modifying discipline in the
matter. Information about the appeal—including records of a settlement, decision, dismissal, or
withdrawal—will be added to the case file.




97   SPOG employees may appeal written reprimands. See SPOG Agreement, supra, § 3.2.


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